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                     THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF MISSISSIPPI
                            ABERDEEN DIVISION

                                             )
ITAWAMBA COUNTY, MISSISSIPPI,                )
                                             )
                                             )
                                Plaintiff,   )
                                             )
v.                                           )   CIVIL ACTION NO.: 1:18cv55-SA-DAS
                                                                   _______________
                                             )
AMERISOURCEBERGEN DRUG                       )
CORPORATION, CARDINAL HEALTH,                )
INC., McKESSON CORPORATION,                  )
PURDUE PHARMA L.P.; PURDUE                   )
PHARMA, INC.; THE PURDUE FREDERICK           )
COMPANY, INC.; TEVA                          )
PHARMACEUTICAL INDUSTRIES, LTD.;             )               COMPLAINT
TEVA PHARMACEUTICALS USA, INC.;              )
CEPHALON, INC.; JOHNSON & JOHNSON;           )      Complaint for Public Nuisance;
JANSSEN PHARMACEUTICALS, INC.;               )         Negligence and Negligent
ORTHO-MCNEIL-JANSSEN                         )    Misrepresentation; Negligence Per Se;
PHARMACEUTICALS, INC. n/k/a JANSSEN          )
                                                    Civil Conspiracy; and Fraud and
PHARMACEUTICALS, INC.; JANSSEN               )
PHARMACEUTICA INC. n/k/a JANSSEN             )        Fraudulent Misrepresentation
PHARMACEUTICALS, INC.; NORAMCO,              )
INC.; ENDO HEALTH SOLUTIONS INC.;            )
ENDO PHARMACEUTICALS, INC.;                  )
ALLERGAN PLC f/k/a ACTAVIS PLS;              )
WATSON PHARMACEUTICALS, INC. n/k/a           )
ACTAVIS, INC.; WATSON                        )
LABORATORIES, INC.; ACTAVIS LLC;             )
ACTAVIS PHARMA, INC. f/k/a WATSON            )
PHARMA, INC.;                                )
MALLINCKRODT PLC and                         )
MALLINCKRODT LLC.                            )
                                             )
                             Defendants.     )
                                             )
                                             )
                                             )   JURY TRIAL DEMANDED AND
                                             )   ENDORSED HEREON
                                             )
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        Plaintiff, Itawamba County, Mississippi (“Plaintiff”), brings this Complaint against

Defendants Purdue Pharma L.P.; Purdue Pharma, Inc.; The Purdue Frederick Company, Inc.;

Teva Pharmaceutical Industries, LTD.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.;

Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc.

n/k/a Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica Inc. n/k/a Janssen Pharmaceuticals,

Inc.; Noramco, Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals, Inc.; Allergan PLC f/k/a

Actavis PLS; Watson Pharmaceuticals, Inc. n/k/a Actavis, Inc.; Watson Laboratories, Inc.;

Actavis, LLC; Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; Mallinckrodt plc; Mallinckrodt

LLC; McKesson Corporation; Cardinal Health, Inc.; and AmerisourceBergen Drug Corporation

(collectively “Defendants”) and alleges as follows:

                                            I. INTRODUCTION

        1.       Plaintiff brings this civil action to eliminate the hazard to public health and safety

caused by the opioid epidemic, to abate the nuisance caused thereby, and to recoup monies that

have been spent because of Defendants’ false, deceptive, and unfair marketing and/or unlawful

diversion of prescription opioids.1 Such economic damages were foreseeable to Defendants and

were sustained because of Defendants’ intentional and/or unlawful actions and omissions.

        2.       Opioid analgesics are widely diverted and improperly used, and the widespread

abuse of opioids has resulted in a national epidemic of opioid overdose deaths and addictions.2

        3.       The opioid epidemic is “directly related to the increasingly widespread misuse of

powerful opioid pain medications.”3




1
 As used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic and semi-
synthetic opiates.
2
  See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
3 See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).


                                                         1
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        4.       Plaintiff brings this suit against the manufacturers of prescription opioids. The

manufacturers aggressively pushed highly addictive, dangerous opioids, falsely representing to

doctors that patients would only rarely succumb to drug addiction. These pharmaceutical

companies aggressively advertised to and persuaded doctors to prescribe highly addictive,

dangerous opioids, turned patients into drug addicts for their own corporate profit. Such actions

were intentional and/or unlawful.

        5.       Plaintiff also brings this suit against the wholesale distributors of these highly

addictive drugs. The distributors and manufacturers intentionally and/or unlawfully breached

their legal duties under federal and state law to monitor, detect, investigate, refuse, and report

suspicious orders of prescription opiates.

        6.       Plaintiff does not bring product liability claims or claims otherwise arising from

allegations that a product was defective.

                                                 II. PARTIES

        A. PLAINTIFF.

        7.       Plaintiff is authorized to bring the causes of action brought herein. See, e.g., MISS.

CODE ANN. § 11-45-17.

        8.       Plaintiff has declared, inter alia, that opioid4 abuse, addiction, morbidity, and

mortality have created a serious public health and safety crisis and are a public nuisance and that

the diversion of legally produced controlled substances into the illicit market causes or

contributes to this public nuisance.

        9.       The distribution and diversion of opioids into Mississippi (“the State”), and

Itawamba County, Mississippi (“the County”) and surrounding areas (collectively, “Plaintiff’s




4
 As used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic and semi-
synthetic opiates.


                                                         2
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Community”), created the foreseeable opioid crisis and opioid public nuisance for which

Plaintiff here seeks relief.

        10.     Plaintiff directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which the Plaintiff seeks relief.

Categories of past and continuing sustained damages include, inter alia: (1) costs for providing

medical care, additional therapeutic, and prescription drug purchases, and other treatments for

patients suffering from opioid-related addiction or disease, including overdoses and deaths; (2)

costs for providing treatment, counseling, and rehabilitation services; (3) costs for providing

treatment of infants born with opioid-related medical conditions; (4) costs associated with law

enforcement and public safety relating to the opioid epidemic; and (5) costs associated with

providing care for children whose parents suffer from opioid-related disability or incapacitation.

The Plaintiff has suffered and continues to suffer these.

        11.     Plaintiff also seeks the means to abate the epidemic the Defendants’ wrongful

and/or unlawful conduct has created.

        12.     Plaintiff has standing to recover damages incurred as a result of the Defendants’

actions and omissions. Plaintiff has standing to bring all claims pled herein.

        B. DEFENDANTS.

              1. Manufacturer Defendants.

        13.     The Manufacturer Defendants are defined below. At all relevant times, the

Manufacturer Defendants have packaged, distributed, supplied, sold, placed into the stream of

commerce, labeled, described, marketed, advertised, promoted, and purported to warn or

purported to inform prescribers and users regarding the benefits and risks associated with the use

of the prescription opioid drugs. The Manufacturer Defendants, at all times, have manufactured

and sold prescription opioids without fulfilling their legal duty prevent diversion and report

suspicious orders.

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        14.     PURDUE PHARMA L.P. is a limited partnership organized under the laws of

Delaware. PURDUE PHARMA INC. is a New York corporation with its principal place of

business in Stamford, Connecticut, and THE PURDUE FREDERICK COMPANY is a Delaware

corporation with its principal place of business in Stamford, Connecticut (collectively,

“Purdue”).

        15.     Purdue manufactures, promotes, sells, and distributes opioids such as OxyContin,

MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER in the United States.

OxyContin is Purdue’s best-selling opioid. Since 2009, Purdue’s annual nationwide sales of

OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from its 2006

sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic

drugs (painkillers).

        16.     CEPHALON, INC. is a Delaware corporation with its principal place of business

in Frazer, Pennsylvania. TEVA PHARMACEUTICAL INDUSTRIES, LTD. (“Teva Ltd.”) is an

Israeli corporation with its principal place of business in Petah Tikva, Israel. In 2011, Teva Ltd.

acquired Cephalon, Inc. TEVA PHARMACEUTICALS USA, INC. (“Teva USA”) is a Delaware

corporation and is a wholly owned subsidiary of Teva Ltd. in Pennsylvania. Teva USA acquired

Cephalon in October 2011.

        17.     Cephalon, Inc. manufactures, promotes, sells, and distributes opioids such as

Actiq and Fentora in the United States. Actiq has been approved by the FDA only for the

“management of breakthrough cancer pain in patients 16 years and older with malignancies who

are already receiving and who are tolerant to around-the-clock opioid therapy for the underlying

persistent cancer pain.”5 Fentora has been approved by the FDA only for the “management of

breakthrough pain in cancer patients 18 years of age and older who are already receiving and

5
    Highlights of Prescribing Information, ACTIQ® (fentanyl citrate) oral transmucosal lozenge, CII (2009),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/020747s030lbl.pdf.


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who are tolerant to around-the-clock opioid therapy for their underlying persistent cancer pain.”6

In 2008, Cephalon pled guilty to a criminal violation of the Federal Food, Drug and Cosmetic

Act for its misleading promotion of Actiq and two other drugs, and agreed to pay $425 million.7

          18.      Teva Ltd., Teva USA, and Cephalon, Inc. work together closely to market and sell

Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for

Cephalon in the United States through Teva USA and has done so since its October 2011

acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products

to the public. Teva USA sells all former Cephalon branded products through its “specialty

medicines” division. The FDA-approved prescribing information and medication guide, which is

distributed with Cephalon opioids, discloses that the guide was submitted by Teva USA, and

directs physicians to contact Teva USA to report adverse events.

          19.      All of Cephalon’s promotional websites, including those for Actiq and Fentora,

display Teva Ltd.’s logo.8 Teva Ltd.’s financial reports list Cephalon’s and Teva USA’s sales as

its own, and its year-end report for 2012 – the year immediately following the Cephalon

acquisition – attributed a 22% increase in its specialty medicine sales to “the inclusion of a full

year of Cephalon’s specialty sales,” including inter alia sales of Fentora®.9 Through interrelated

operations like these, Teva Ltd. operates in the United States through its subsidiaries Cephalon

and Teva USA. The United States is the largest of Teva Ltd.’s global markets, representing 53%

of its global revenue in 2015, and, were it not for the existence of Teva USA and Cephalon, Inc.,

Teva Ltd. would conduct those companies’ business in the United States itself. Upon information

6
      Highlights of Prescribing Information, FENTORA® (fentanyl citrate) buccal tablet, CII (2011),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021947s015lbl.pdf.
7
  Press Release, U.S. Dep’t of Justice, Biopharmaceutical Company, Cephalon, to Pay $425 Million & Enter Plea to
Resolve         Allegations          of        Off-Label       Marketing         (Sept.       29,        2008),
https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html.
8
    E.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last visited Aug. 21, 2017).
9
        Teva       Ltd.,    Annual      Report      (Form     20-F)  62      (Feb.                      12,   2013),
http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ_TEVA_2012.pdf.


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and belief, Teva Ltd. directs the business practices of Cephalon and Teva USA, and their profits

inure to the benefit of Teva Ltd. as controlling shareholder. Teva Pharmaceutical Industries, Ltd.,

Teva Pharmaceuticals USA, Inc., and Cephalon, Inc. are referred to as “Cephalon.”

       20.     JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of

JOHNSON & JOHNSON (J&J), a New Jersey corporation with its principal place of business in

New Brunswick, New Jersey. NORAMCO, INC. (“Noramco”) is a Delaware company

headquartered in Wilmington, Delaware and was a wholly owned subsidiary of J&J until July

2016. ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN

PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey. JANSSEN PHARMACEUTICA INC., now known as JANSSEN

PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey. J&J is the only company that owns more than 10% of Janssen

Pharmaceuticals’ stock, and corresponds with the FDA regarding Janssen’s products. Upon

information and belief, J&J controls the sale and development of Janssen Pharmaceuticals’ drugs

and Janssen’s profits inure to J&J’s benefit. Janssen Pharmaceuticals, Inc., Ortho-McNeil-

Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., Noramco, and J&J are referred to as

“Janssen.”

       21.     Janssen manufactures, promotes, sells, and distributes drugs in the United States,

including the opioid Duragesic (fentanyl). Before 2009, Duragesic accounted for at least $1

billion in annual sales. Until January 2015, Janssen developed, marketed, and sold the opioids

Nucynta (tapentadol) and Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172

million in sales in 2014.




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       22.     ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. ENDO PHARMACEUTICALS INC. is a wholly

owned subsidiary of Endo Health Solutions Inc. and is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. Endo Health Solutions Inc. and Endo

Pharmaceuticals Inc. are referred to as “Endo.”

       23.     Endo develops, markets, and sells prescription drugs, including the opioids

Opana/Opana ER, Percodan, Percocet, and Zydone, in the United States. Opioids made up

roughly $403 million of Endo’s overall revenues of $3 billion in 2012. Opana ER yielded $1.15

billion in revenue from 2010 and 2013, and it accounted for 10% of Endo’s total revenue in

2012. Endo also manufactures and sells generic opioids such as oxycodone, oxymorphone,

hydromorphone, and hydrocodone products in the United States, by itself and through its

subsidiary, Qualitest Pharmaceuticals, Inc.

       24.     ALLERGAN PLC is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. ACTAVIS PLC acquired ALLERGAN PLC in

March 2015, and the combined company changed its name to ALLERGAN PLC in January

2013. Before that, WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in

October 2012, and the combined company changed its name to Actavis, Inc. as of January 2013

and then ACTAVIS PLC in October 2013. WATSON LABORATORIES, INC. is a Nevada

corporation with its principal place of business in Corona, California, and is a wholly-owned

subsidiary of ALLERGAN PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.).

ACTAVIS PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware corporation with its principal

place of business in New Jersey and was formerly known as WATSON PHARMA, INC.

ACTAVIS LLC is a Delaware limited liability company with its principal place of business in

Parsippany, New Jersey. Each of these defendants is owned by ALLERGAN PLC, which uses



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them to market and sell its drugs in the United States. Upon information and belief, ALLERGAN

PLC exercises control over these marketing and sales efforts and profits from the sale of

Allergan/Actavis products ultimately inure to its benefit. ALLERGAN PL, ACTAVIS PLC;

ACTAVIS, Inc.; Actavis LLC; Actavis Pharma, Inc.; Watson Pharmaceuticals, Inc.; Watson

Pharma, Inc.; and Watson Laboratories, Inc. are referred to as “Actavis.”

       25.     Actavis manufactures, promotes, sells, and distributes opioids, including the

branded drugs Kadian and Norco, a generic version of Kadian, and generic versions of Duragesic

and Opana, in the United States. Actavis acquired the rights to Kadian from King

Pharmaceuticals, Inc. on December 30, 2008, and began marketing Kadian in 2009.

       26.     MALLINCKRODT, PLC is an Irish public limited company headquartered in

Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

MALLINCKRODT, LLC is a limited liability company organized and existing under the laws of

the State of Delaware. Mallinckrodt, LLC is a wholly owned subsidiary of Mallinckrodt, plc.

Mallinckrodt, plc and Mallinckrodt, LLC are referred to as “Mallinckrodt.”

       27.     Mallinckrodt manufactures, markets, and sells drugs in the United States

including generic oxycodone, of which it is one of the largest manufacturers. In July 2017

Mallinckrodt agreed to pay $35 million to settle allegations brought by the Department of Justice

that it failed to detect and notify the DEA of suspicious orders of controlled substances.

             2. Distributor Defendants.

       28.     The Distributor Defendants are defined below. At all relevant times, the

Distributor Defendants have distributed, supplied, sold, and placed into the stream of commerce

the prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor

Defendants universally failed to comply with federal and/or state law. The Distributor

Defendants are engaged in “wholesale distribution,” as defined under state and federal law.

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Plaintiff alleges the unlawful conduct by the Distributor Defendants is responsible for the

volume of prescription opioids plaguing Plaintiff’s Community.

         29.      McKESSON CORPORATION (“McKesson”) at all relevant times, operated as a

licensed pharmacy wholesaler in Mississippi. McKesson is a Delaware corporation. McKesson

has its principal place of business located in San Francisco, California. McKesson operates a

distribution center in Olive Branch, Mississippi.

         30.      CARDINAL HEALTH, INC. (“Cardinal”) at all relevant times, operated as a

licensed pharmacy wholesaler in Mississippi. Cardinal’s principal office located in Dublin,

Ohio. Cardinal operates a distribution center in Madison, Mississippi.

         31.      AMERISOURCEBERGEN DRUG CORPORATION (“AmerisourceBergen”) at

all   relevant     times,    operated      as    a   licensed      pharmacy       wholesaler      in    Mississippi.

AmerisourceBergen is a Delaware corporation and its principal place of business is located in

Chesterbrook, Pennsylvania. AmerisourceBergen operates a distribution center in Olive Branch,

Mississippi.

         32.      The data which reveals and/or confirms the identity of each wrongful opioid

distributor is hidden from public view in the DEA’s confidential ARCOS database. See Madel v.

USDOJ, 784 F.3d 448 (8th Cir. 2015). Neither the DEA10 nor the wholesale distributors11 will

voluntarily disclose the data necessary to identify with specificity the transactions which will

form the evidentiary basis for the claims asserted herein.




10
  See Declaration of Katherine L. Myrick, Chief, Freedom of Information (FOI)/Privacy Act Unit (“SARF”), FOI,
Records Management Section (“SAR”), Drug Enforcement Administration (DEA), United States Department of
Justice (DOJ), Madel v. USDOJ, Case 0:13-cv-02832-PAM-FLN, (Document 23) (filed 02/06/14) (noting that
ARCOS data is “kept confidential by the DEA”).
11
  See Declaration of Tina Lantz, Cardinal Health VP of Sales Operation, Madel v. USDOJ, Case 0:13-cv-02832-
PAM-FLN, (Document 93) (filed 11/02/16) (“Cardinal Health does not customarily release any of the information
identified by the DEA notice letter to the public, nor is the information publicly available. Cardinal Health relies on
DEA to protect its confidential business information reported to the Agency.”).


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       33.     Consequently, Plaintiff has named the three (3) wholesale distributors (i.e.,

AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson Corporation) which

dominate 85% of the market share for the distribution of prescription opioids. The “Big 3” are

Fortune 500 corporations listed on the New York Stock Exchange whose principal business is

the nationwide wholesale distribution of prescription drugs. See Fed. Trade Comm'n v. Cardinal

Health, Inc., 12 F. Supp. 2d 34, 37 (D.D.C. 1998) (describing Cardinal Health, Inc., McKesson

Corporation, and AmerisourceBergen Drug Corporation predecessors). Each has been

investigated and/or fined by the DEA for the failure to report suspicious orders. Plaintiff has

reason to believe each has engaged in unlawful conduct which resulted in the diversion of

prescription opioids into Plaintiff’s community and that discovery will likely reveal others who

likewise engaged in unlawful conduct. Plaintiff names each of the “Big 3” herein as defendants

and places the industry on notice that the Plaintiff is acting to abate the public nuisance plaguing

the community. Plaintiff will request expedited discovery pursuant to Rule 26(d) of the Federal

Rules of Civil Procedure to secure the data necessary to reveal and/or confirm the identities of

the wholesale distributors, including data from the ARCOS database.

                               III. JURISDICTION & VENUE

       34.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 based upon the

federal claims asserted herein, including claims asserted under the federal Controlled Substances

Act. This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28

U.S.C. § 1367 because those claims are so related to Plaintiff’s federal claims that they form part

of the same case or controversy.

       35.     This Court also has jurisdiction over this action in accordance with 28 U.S.C. §

1332(a) because the Plaintiff is a “citizen” of this State, the named Defendants are citizens of




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different states and the amount in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs.

        36.      This Court has personal jurisdiction over Defendants because they conduct

business in the State, they purposefully direct or directed their actions toward the State, some or

all consented to be sued in the State by registering an agent for service of process, they

consensually submitted to the jurisdiction of the State when obtaining a manufacturer or

distributor license, and because they have the requisite minimum contacts with the State

necessary to constitutionally permit the Court to exercise jurisdiction.

        37.      This Court also has personal jurisdiction over all of the defendants under 18

U.S.C. § 1965(b). This Court may exercise nationwide jurisdiction over the named Defendants

where the “ends of justice” require national service and Plaintiff demonstrates national contacts.

        38.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 18 U.S.C. §1965

because a substantial part of the events or omissions giving rise to the claim occurred in this

District and each Defendant transacted affairs and conducted activity that gave rise to the claims

of relief in this District. 28 U.S.C. § 1391(b); 18 U.S.C. §1965(a).

                                  IV. FACTUAL BACKGROUND

        A. THE OPIOID EPIDEMIC.

              1. The National Opioid Epidemic.

        39.      The past two decades have been characterized by increasing abuse and diversion

of prescription drugs, including opioid medications, in the United States.12

        40.      Prescription opioids have become widely prescribed.                    By 2010, enough

prescription opioids were sold to medicate every adult in the United States with a dose of 5

milligrams of hydrocodone every 4 hours for 1 month.13


12
 See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
Med. 241 (2015).


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           41.      By 2011, the U.S. Department of Health and Human Resources, Centers for

Disease Control and Prevention, declared prescription painkiller overdoses to be at epidemic

levels. The News Release noted:

                        a. The death toll from overdoses of prescription painkillers
                           has more than tripled in the past decade.

                        b. More than 40 people die every day from overdoses
                           involving narcotic pain relievers like hydrocodone
                           (Vicodin), methadone, oxycodone (OxyContin), and
                           oxymorphone (Opana).

                        c. Overdoses involving prescription painkillers are at
                           epidemic levels and now kill more Americans than heroin
                           and cocaine combined.

                        d. The increased use of prescription painkillers for
                           nonmedical reasons, along with growing sales, has
                           contributed to a large number of overdoses and deaths. In
                           2010, 1 in every 20 people in the United States age 12 and
                           older—a total of 12 million people—reported using
                           prescription painkillers non-medically according to the
                           National Survey on Drug Use and Health. Based on the
                           data from the Drug Enforcement Administration, sales of
                           these drugs to pharmacies and health care providers have
                           increased by more than 300 percent since 1999.

                        e. Prescription drug abuse is a silent epidemic that is stealing
                           thousands of lives and tearing apart communities and
                           families across America.

                        f. Almost 5,500 people start to misuse prescription painkillers
                           every day.14

           42.      The number of annual opioid prescriptions written in the United States is now

roughly equal to the number of adults in the population.15




13
  Katherine M. Keyes at al., Understanding the Rural-Urban Differences in Nonmedical Prescription Opioid Use
and Abuse in the United States, 104 Am. J. Pub. Health e52 (2014).
14
   See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Prescription
Painkiller         Overdoses            at        Epidemic           Levels         (Nov.        1,         2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
15
     See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).


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        43.      Many Americans are now addicted to prescription opioids, and the number of

deaths due to prescription opioid overdose is unacceptable. In 2016, drug overdoses killed

roughly 64,000 people in the United States, an increase of more than 22 percent over the 52,404

drug deaths recorded the previous year.16

        44.      Moreover, the CDC has identified addiction to prescription pain medication as the

strongest risk factor for heroin addiction. People who are addicted to prescription opioid

painkillers are forty times more likely to be addicted to heroin.17

        45.      Heroin is pharmacologically similar to prescription opioids. The majority of

current heroin users report having used prescription opioids non-medically before they initiated

heroin use. Available data indicates that the nonmedical use of prescription opioids is a strong

risk factor for heroin use.18

        46.      The CDC reports that drug overdose deaths involving heroin continued to climb

sharply, with heroin overdoses more than tripling in 4 years. This increase mirrors large

increases in heroin use across the country and has been shown to be closely tied to opioid pain

reliever misuse and dependence. Past misuse of prescription opioids is the strongest risk factor

for heroin initiation and use, specifically among persons who report past-year dependence or

abuse. The increased availability of heroin, combined with its relatively low price (compared

with diverted prescription opioids) and high purity appear to be major drivers of the upward

trend in heroin use and overdose.19


16
  See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Provisional Counts of Drug
Overdose Deaths, (August 8, 2016), https://www.cdc.gov/nchs/data/health_policy/monthly-drug-overdose-death-
estimates.pdf.
17
   See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Today’s Heroin Epidemic,
https://www.cdc.gov/vitalsigns/heroin/index.html (last updated July 7, 2015).
18
 See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid Use and Heroin, 374 N. Eng. J.
Med. 154 (2016).
19
  See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64
Morbidity & Mortality Wkly. Rep. 1378 (2016).


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          47.     The societal costs of prescription drug abuse are “huge.”20

          48.     Across the nation, local governments are struggling with a pernicious, ever-

expanding epidemic of opioid addiction and abuse. Every day, more than 90 Americans lose

their lives after overdosing on opioids.21

          49.     The National Institute on Drug Abuse identifies misuse and addiction to opioids

as “a serious national crisis that affects public health as well as social and economic welfare.”22

The economic burden of prescription opioid misuse alone is $78.5 billion a year, including the

costs of healthcare, lost productivity, addiction treatment, and criminal justice expenditures.23

          50.     The U.S. opioid epidemic is continuing, and drug overdose deaths nearly tripled

during 1999–2014. Among 47,055 drug overdose deaths that occurred in 2014 in the United

States, 28,647 (60.9%) involved an opioid.24

          51.     The rate of death from opioid overdose has quadrupled during the past 15 years in

the United States. Nonfatal opioid overdoses that require medical care in a hospital or emergency

department have increased by a factor of six in the past 15 years.25

          52.     Every day brings a new revelation regarding the depth of the opioid plague: just to

name one example, the New York Times reported in September 2017 that the epidemic, which


20
  See Amicus Curiae Brief of Healthcare Distribution Management Association in Support of Appellant Cardinal
Health, Inc., Cardinal Health, Inc. v. United States Dept. Justice, No. 12-5061 (D.C. Cir. May 9, 2012), 2012 WL
1637016, at *10 [hereinafter Brief of HDMA].
21
   Opioid Crisis, NIH, National Institute on Drug Abuse (available at https://www.drugabuse.gov/drugs-
abuse/opioids/opioid-crisis, last visited Sept. 19, 2017) (“Opioid Crisis, NIH”) (citing at note 1 Rudd RA, Seth P,
David F, Scholl L, Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010–2015, MMWR
MORB MORTAL WKLY REP. 2016;65, doi:10.15585/mmwr.mm655051e1).
22
     Opioid Crisis, NIH.
23
    Id. (citing at note 2 Florence CS, Zhou C, Luo F, Xu L, The Economic Burden of Prescription Opioid Overdose,
Abuse, and Dependence in the United States, 2013, MED CARE 2016;54(10):901-906,
doi:10.1097/MLR.0000000000000625).
24
 See Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths—United States, 2010–2015, 65
Morbidity & Mortality Wkly. Rep. 1445 (2016).
25
   See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).


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now claims 60,000 lives a year, is now killing babies and toddlers because ubiquitous, deadly

opioids are “everywhere” and mistaken for candy.26

        53.      In 2016, the President of the United States declared an opioid and heroin

epidemic.27

        54.      The epidemic of prescription pain medication and heroin deaths is devastating

families and communities across the country.28 Meanwhile, the manufacturers and distributors

of prescription opioids extract billions of dollars of revenue from the addicted American public

while public entities experience tens of millions of dollars of injury caused by the reasonably

foreseeable consequences of the prescription opioid addiction epidemic.

        55.      The prescription opioid manufacturers and distributors, including the Defendants,

have continued their wrongful, intentional, and unlawful conduct, despite their knowledge that

such conduct is causing and/or continuing to cause the national, state, and local opioid epidemic.

               2. Mississippi’s Opioid Epidemic.

        56.      Mississippi has been especially ravaged by the national opioid crisis.

        57.       Mississippi has an opioid prescription rate of 120.3 per 100 persons, which ranks

sixth in the country (U.S. median rate: 82.5) and a benzodiazepine prescription rate of 46.2 per

100 persons which ranks twelfth nationally (U.S. median rate: 37.6).29




26
   Julie Turkewitz, ‘The Pills are Everywhere’: How the Opioid Crisis Claims Its Youngest Victims, N.Y. Times,
Sept. 20, 2017 (“‘It’s a cancer,’ said [grandmother of dead one-year old], of the nation’s opioid problem, ‘with
tendrils that are going everywhere.’”).
27
  See Proclamation No. 9499, 81 Fed. Reg. 65,173 (Sept. 16, 2016) (proclaiming “Prescription Opioid and Heroin
Epidemic Awareness Week”).
28
  See Presidential Memorandum – Addressing Prescription Drug Abuse and Heroin Use, 2015 Daily Comp. Pres.
Doc. 743 (Oct. 21, 2015), https://www.gpo.gov/fdsys/pkg/DCPD-201500743/pdf/DCPD-201500743.pdf.
29
  See Leonard J. Paulozzi, M.D., et al., Vital Signs: Variation Among States in Prescribing of Opioid Pain Relievers
and Benzodiazepines – United States, 2012, Morbidity and Mortality Weekly Report, Centers for Disease Control
and Prevention, U.S. Department of Health and Human Services (July 4, 2014). The combination of hydrocodone,
oxycodone, and benzodiazepines is referred to as the “holy trinity” and significantly increases the risk of harm to
those that abuse prescription pills.


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        58.       From 2011-2014, prescriptions for oxycodone increased in Mississippi by 33%,

while prescriptions for morphine and fentanyl increased by 17% and 15.2%, respectively.30

        59.      According to the Mississippi State Department of Health, fatal opioid overdoses

in Mississippi nearly doubled from 76 cases in 2011 to 146 cases in 2015.31

        60.       From 2010-2011 there were 9,781 opioid-related hospitalizations in Mississippi,

with significantly higher hospitalization rates in Southeast Mississippi.32 65% of these

hospitalizations were for dependent opioid drug abuse, 16% were for non-dependent drug abuse,

and 13% were for opioid overdose.33 The average length of stay for opioid related

hospitalizations was 5.6 days and the average charges for those stays totaled $20,439.34 The total

charges for opioid-related hospitalizations for 2010-2011 was $199,918,316.35

        61.      The Mississippi State Department of Health’s data shows that from 2010 through

2011, 151 cases of Neonatal Abstinence Syndrome (NAS), a collection of symptoms newborn

babies experience withdrawing from opioid medications taken by the mother, were reported,

giving Mississippi a rate of 2.7 NAS-related hospitalizations per 1,000 neo-natal stays.36 The

mean length of hospital stays for NAS-related diagnoses was eight (8) days compared to three

(3) days for non-NAS-related discharges, with a mean cost of over three (3) times more than




30
      “The Mississippi Opioid Epidemic: Data Brief,” Mississippi State                      Dept.    of   Health,
http://msdh.ms.gov/msdhsite/_static/resources/7292.pdf (last visited September 29, 2017).
31
        Id.
32
         Staneva, Dobbs, Pearson, Preacely, Mohamed. Opioid Related Hospitalizations in Mississippi 2010 &
2011; an analysis of the Mississippi Hospital Discharge Data. Mississippi State Department of Health. December
2015. Available at http://msdh.ms.gov/msdhsite/_static/resources/6472.pdf (last visited October 5, 2017).
33
         Id.
34
         Id.
35
         Id.
36
         Staneva, Pearson, Dobbs, Preacely, Collier. Hospitalizations for Neonatal Abstinence Syndrome in
Mississippi, 2010-2011. Mississippi State Department of Health. November 2016. Available at
https://msdh.ms.gov/msdhsite/_static/resources/7001.pdf (last visited October 5, 2017).

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other neonatal discharges ($17,603 versus $5,813).37 Respiratory disorders, low birth weight,

sepsis, and seizures were significantly associated with NAS-related diagnoses during this time.38

        62.      According to the Mississippi Department of Child Protection Services, the

number of children in custody has risen form 6,498 in 2013 to a record high of 8,944 in 2016,

fueled by increased drug use, even as the rate of cases in which alcohol contributed decreased.39

               3. The Opioid Epidemic in Plaintiff’s Community.

        63.      Plaintiff’s Community has been hit particularly hard by the opioid crisis.

        64.      Plaintiff’s Community is experiencing an excessive drug overdose rate related to

an excessive volume of prescription opiates proximately caused by the wrongful conduct by the

Defendants described and named herein.

        65.      Excessive numbers of opioid prescriptions have been dispensed in the Plaintiff’s

Community.40 Significant numbers of the residents of Plaintiff’s Community report drug

dependence and non-medical use of pain relievers.41 Many residents of Plaintiff’s Community

who need addiction treatment don’t receive it.42 Drug poisoning and opioid related deaths in

Plaintiff’s Community have significantly impacted the community in recent years.

        66.      The opioid epidemic has placed increased budgetary constraints upon inter alia

the public health and medical care expenditures of the Plaintiff’s Community. Opioid addiction

is one of the primary reasons citizens of the State and Plaintiff’s Community seek substance

abuse treatment.




37
           Id.
38
           Id.
39
           Campbell, Larrison. “Drug epidemic sweeps kids into state custody.” Mississippi Today 23 Jan. 2017, last
visited October 5, 2017.
40
       U.S.     Prescribing Rate       Maps,   Centers   for     Disease    Control     and   Prevention (2017),
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html (last visited Nov 13, 2017).
41
   See, e.g., http://opioid.amfar.org.
42
   Id. at View Counties: Healthcare.


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       67.     Criminal charges associated with the diversion of opioids have increased. This

has placed increased budgetary costs upon law enforcement expenses in the Plaintiff’s

Community.

       68.     Opioid abuse, addiction, morbidity, and mortality are hazards to public health and

safety in the Plaintiff’s Community, and constitute a temporary and continuing public nuisance,

which remains unabated.

       B. THE MANUFACTURER DEFENDANTS’ FALSE, DECEPTIVE, AND
          UNFAIR MARKETING OF OPIOIDS.

       69.     The opioid epidemic did not happen by accident.

       70.     Before the 1990s, generally accepted standards of medical practice dictated that

opioids should only be used short-term for acute pain, pain relating to recovery from surgery, or

for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved

patients’ ability to overcome pain and function, coupled with evidence of greater pain complaints

as patients developed tolerance to opioids over time and the serious risk of addiction and other

side effects, the use of opioids for chronic pain was discouraged or prohibited. As a result,

doctors generally did not prescribe opioids for chronic pain.

       71.     Each Manufacturer Defendant has conducted, and has continued to conduct, a

marketing scheme designed to persuade doctors and patients that opioids can and should be used

for chronic pain, resulting in opioid treatment for a far broader group of patients who are much

more likely to become addicted and suffer other adverse effects from the long-term use of

opioids. In connection with this scheme, each Manufacturer Defendant spent, and continues to

spend, millions of dollars on promotional activities and materials that falsely deny or trivialize

the risks of opioids while overstating the benefits of using them for chronic pain.

       72.     The Manufacturer Defendants have made false and misleading claims, contrary to

the language on their drugs’ labels, regarding the risks of using their drugs that: (1) downplayed


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the serious risk of addiction; (2) created and promoted the concept of “pseudoaddiction” when

signs of actual addiction began appearing and advocated that the signs of addiction should be

treated with more opioids; (3) exaggerated the effectiveness of screening tools to prevent

addiction; (4) claimed that opioid dependence and withdrawal are easily managed; (5) denied the

risks of higher opioid dosages; and (6) exaggerated the effectiveness of “abuse-deterrent” opioid

formulations to prevent abuse and addiction. The Manufacturer Defendants also have falsely

touted the benefits of long-term opioid use, including the supposed ability of opioids to improve

function and quality of life, even though there was no scientifically reliable evidence to support

the Manufacturer Defendants’ claims.

           73.      The Manufacturer Defendants have disseminated these common messages to

reverse the popular and medical understanding of opioids and risks of opioid use. They

disseminated these messages directly, through their sales representatives, in speaker groups led

by physicians the Manufacturer Defendants recruited for their support of their marketing

messages, and through unbranded marketing and industry-funded front groups.

           74.      The Manufacturer Defendants’ efforts have been wildly successful. Opioids are

now the most prescribed class of drugs. Globally, opioid sales generated $11 billion in revenue

for drug companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue

annually since 2009.43 In an open letter to the nation’s physicians in August 2016, the then-U.S.

Surgeon General expressly connected this “urgent health crisis” to “heavy marketing of opioids

to doctors . . . [m]any of [whom] were even taught – incorrectly – that opioids are not addictive

when prescribed for legitimate pain.”44 This epidemic has resulted in a flood of prescription



43
    See Katherine Eban, Oxycontin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9, 2011,
http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers Hooked on
$10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www. ft.com/content/f6e989a8-5dac-11e6-bb77-
a121aa8abd95.
44
     Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/.


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opioids available for illicit use or sale (the supply), and a population of patients physically and

psychologically dependent on them (the demand). And when those patients can no longer afford

or obtain opioids from licensed dispensaries, they often turn to the street to buy prescription

opioids or even non-prescription opioids, like heroin.

       75.     The Manufacturer Defendants intentionally continued their conduct, as alleged

herein, with knowledge that such conduct was creating the opioid nuisance and causing the

harms and damages alleged herein.

             1. Each Manufacturer Defendant Used Multiple Avenues to Disseminate Their
                False and Deceptive Statements about Opioids.

       76.     The Manufacturer Defendants spread their false and deceptive statements by

marketing their branded opioids directly to doctors and patients in and around the State,

including in Plaintiff’s Community. Defendants also deployed seemingly unbiased and

independent third parties whom they controlled to spread their false and deceptive statements

about the risks and benefits of opioids for the treatment of chronic pain throughout the State and

Plaintiff’s Community.

       77.     The Manufacturer Defendants employed the same marketing plans and strategies

and deployed the same messages in and around the State, including in Plaintiff’s Community, as

they did nationwide. Across the pharmaceutical industry, “core message” development is funded

and overseen on a national basis by corporate headquarters. This comprehensive approach

ensures that the Manufacturer Defendants’ messages are accurately and consistently delivered

across marketing channels – including detailing visits, speaker events, and advertising – and in

each sales territory. The Manufacturer Defendants consider this high level of coordination and

uniformity crucial to successfully marketing their drugs.

       78.     The Manufacturer Defendants ensure marketing consistency nationwide through

national and regional sales representative training; national training of local medical liaisons, the


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company employees who respond to physician inquiries; centralized speaker training; single sets

of visual aids, speaker slide decks, and sales training materials; and nationally coordinated

advertising. The Manufacturer Defendants’ sales representatives and physician speakers were

required to stick to prescribed talking points, sales messages, and slide decks, and supervisors

rode along with them periodically to both check on their performance and compliance.

                       i.   Direct Marketing.

       79.     The Manufacturer Defendants’ direct marketing of opioids generally proceeded

on two tracks. First, each Manufacturer Defendant conducted and continues to conduct

advertising campaigns touting the purported benefits of their branded drugs. For example, upon

information and belief, the Manufacturer Defendants spent more than $14 million on medical

journal advertising of opioids in 2011, nearly triple what they spent in 2001.

       80.     Many of the Manufacturer Defendants’ branded ads deceptively portrayed the

benefits of opioids for chronic pain. For example, Endo distributed and made available on its

website www.opana.com a pamphlet promoting Opana ER with photographs depicting patients

with physically demanding jobs like construction worker, chef, and teacher, misleadingly

implying that the drug would provide long-term pain-relief and functional improvement. Upon

information and belief, Purdue also ran a series of ads, called “Pain vignettes,” for OxyContin in

2012 in medical journals. These ads featured chronic pain patients and recommended OxyContin

for each. One ad described a “54-year-old writer with osteoarthritis of the hands” and implied

that OxyContin would help the writer work more effectively.

       81.     Second, each Manufacturer Defendant promoted the use of opioids for chronic

pain through “detailers” – sales representatives who visited individual doctors and medical staff

in their offices – and small-group speaker programs. The Manufacturer Defendants have not

corrected this misinformation. Instead, each Defendant devoted massive resources to direct sales

contacts with doctors. Upon information and belief, in 2014 alone, the Manufacturer Defendants

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spent in excess of $168 million on detailing branded opioids to doctors, more than twice what

they spent on detailing in 2000.

        82.     The Manufacturer Defendants’ detailing to doctors is effective. Numerous studies

indicate that marketing impacts prescribing habits, with face-to-face detailing having the greatest

influence. Even without such studies, the Manufacturer Defendants purchase, manipulate and

analyze some of the most sophisticated data available in any industry, data available from IMS

Health Holdings, Inc., to track, precisely, the rates of initial prescribing and renewal by

individual doctor, which in turn allows them to target, tailor, and monitor the impact of their core

messages. Thus, the Manufacturer Defendants know their detailing to doctors is effective.

        83.     The Manufacturer Defendants’ detailers have been reprimanded for their

deceptive promotions. In March 2010, for example, the FDA found that Actavis had been

distributing promotional materials that “minimize[] the risks associated with Kadian and

misleadingly suggest[] that Kadian is safer than has been demonstrated.” Those materials in

particular “fail to reveal warnings regarding potentially fatal abuse of opioids, use by individuals

other than the patient for whom the drug was prescribed.”45

                        ii.   Indirect Marketing.

        84.     The Manufacturer Defendants indirectly marketed their opioids using unbranded

advertising, paid speakers and “key opinion leaders” (“KOLs”), and industry-funded

organizations posing as neutral and credible professional societies and patient advocacy groups

(referred to hereinafter as “Front Groups”).

        85.     The Manufacturer Defendants deceptively marketed opioids in the State and

Plaintiff’s Community through unbranded advertising – e.g., advertising that promotes opioid

use generally but does not name a specific opioid. This advertising was ostensibly created and
45
   Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to
Doug         Boothe,      CEO,          Actavis        Elizabeth       LLC     (Feb.     18,     2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.


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disseminated by independent third parties. But by funding, directing, reviewing, editing, and

distributing this unbranded advertising, the Manufacturer Defendants controlled the deceptive

messages disseminated by these third parties and acted in concert with them to falsely and

misleadingly promote opioids for the treatment of chronic pain. Much as the Manufacturer

Defendants controlled the distribution of their “core messages” via their own detailers and

speaker programs, they similarly controlled the distribution of these messages in scientific

publications, treatment guidelines, Continuing Medical Education (“CME”) programs, and

medical conferences and seminars. To this end, the Manufacturer Defendants used third-party

public relations firms to help control those messages when they originated from third-parties.

       86.     The Manufacturer Defendants marketed through third-party, unbranded

advertising to avoid regulatory scrutiny because that advertising is not submitted to and typically

is not reviewed by the FDA. The Manufacturer Defendants also used third-party, unbranded

advertising to give the false appearance that the deceptive messages came from an independent

and objective source. Like the tobacco companies, the Manufacturer Defendants used third

parties that they funded, directed, and controlled to carry out and conceal their scheme to deceive

doctors and patients about the risks and benefits of long term opioid use for chronic pain.

       87.     The Manufacturer Defendants also identified doctors to serve, for payment, on

their speakers’ bureaus and to attend programs with speakers and meals paid for by Defendants.

These speaker programs provided: (1) an incentive for doctors to prescribe a particular opioid (so

they might be selected to promote the drug; (2) recognition and compensation for the doctors

selected as speakers; and (3) an opportunity to promote the drug through the speaker to his or her

peers. These speakers give the false impression that they are providing unbiased and medically

accurate presentations when they are, in fact, presenting a script prepared by Defendants. On

information and belief, these presentations conveyed misleading information, omitted material



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information, and failed to correct Defendants’ prior misrepresentations about the risks and

benefits of opioids.

       88.     Borrowing a page from Big Tobacco’s playbook, the Manufacturer Defendants

worked through third parties they controlled by: (a) funding, assisting, encouraging, and

directing doctors who served as KOLS, and (b) funding, assisting, directing, and encouraging

seemingly neutral and credible Front Groups. The Manufacturer Defendants then worked

together with those KOLs and Front Groups to taint the sources that doctors and patients relied

on for ostensibly “neutral” guidance, such as treatment guidelines, CME programs, medical

conferences and seminars, and scientific articles. Thus, working individually and collectively,

and through these Front Groups and KOLs, the Manufacturer Defendants persuaded doctors and

patients that what they have long known – that opioids are addictive drugs, unsafe in most

circumstances for long-term use – was untrue, and that the compassionate treatment of pain

required opioids.

       89.     In 2007, multiple States sued Purdue for engaging in unfair and deceptive

practices in its marketing, promotion, and sale of OxyContin. Certain states settled their claims

in a series Consent Judgments that prohibited Purdue from making misrepresentations in the

promotion and marketing of OxyContin in the future. By using indirect marketing strategies,

however, Purdue intentionally circumvented these restrictions. Such actions include contributing

the creation of misleading publications and prescribing guidelines which lack reliable scientific

basis and promote prescribing practices that have worsened the opioid crisis.

       90.     Pro-opioid doctors are one of the most important avenues that the Manufacturer

Defendants use to spread their false and deceptive statements about the risks and benefits of

long-term opioid use. The Manufacturer Defendants know that doctors rely heavily and less

critically on their peers for guidance, and KOLs provide the false appearance of unbiased and



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reliable support for chronic opioid therapy. For example, the State of New York found in its

settlement with Purdue that the Purdue website “In the Face of Pain” failed to disclose that

doctors who provided testimonials on the site were paid by Purdue and concluded that Purdue’s

failure to disclose these financial connections potentially misled consumers regarding the

objectivity of the testimonials.

       91.     Defendants utilized many KOLs, including many of the same ones.

       92.     Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL whom the

Manufacturer Defendants identified and promoted to further their marketing campaign. Dr.

Portenoy received research support, consulting fees, and honoraria from Cephalon, Endo,

Janssen, and Purdue (among others), and was a paid consultant to Cephalon and Purdue. Dr.

Portenoy was instrumental in opening the door for the regular use of opioids to treat chronic

pain. He served on the American Pain Society (“APS”) / American Academy of Pain Medicine

(“AAPM”) Guidelines Committees, which endorsed the use of opioids to treat chronic pain, first

in 1996 and again in 2009. He was also a member of the board of the American Pain Foundation

(“APF”), an advocacy organization almost entirely funded by the Manufacturer Defendants.

       93.     Dr. Portenoy also made frequent media appearances promoting opioids and

spreading misrepresentations, such as his claim that “the likelihood that the treatment of pain

using an opioid drug which is prescribed by a doctor will lead to addiction is extremely low.” He

appeared on Good Morning America in 2010 to discuss the use of opioids long-term to treat

chronic pain. On this widely-watched program, broadcast across the country, Dr. Portenoy

claimed: “Addiction, when treating pain, is distinctly uncommon. If a person does not have a

history, a personal history, of substance abuse, and does not have a history in the family of




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substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

assured that that person is not going to become addicted.”46

            94.    Dr. Portenoy later admitted that he “gave innumerable lectures in the late 1980s

and ‘90s about addiction that weren’t true.” These lectures falsely claimed that fewer than 1% of

patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

was to “destigmatize” opioids, he and other doctors promoting them overstated their benefits and

glossed over their risks. Dr. Portenoy also conceded that “[d]ata about the effectiveness of

opioids does not exist.”47 Portenoy candidly stated: “Did I teach about pain management,

specifically about opioid therapy, in a way that reflects misinformation? Well, . . . I guess I

did.”48

            95.    Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

Webster was President of AAPM in 2013. He is a Senior Editor of Pain Medicine, the same

journal that published Endo special advertising supplements touting Opana ER. Dr. Webster was

the author of numerous CMEs sponsored by Cephalon, Endo, and Purdue. At the same time, Dr.

Webster was receiving significant funding from the Manufacturer Defendants (including nearly

$2 million from Cephalon).

            96.    During a portion of his time as a KOL, Dr. Webster was under investigation for

overprescribing by the U.S. Department of Justice’s Drug Enforcement Agency, which raided his

clinic in 2010. Although the investigation was closed without charges in 2014, more than 20 of

Dr. Webster’s former patients at the Lifetree Clinic have died of opioid overdoses.



46
     Good Morning America (ABC television broadcast Aug. 30, 2010).
47
   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec. 17, 2012,
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
48
     Id.


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           97.     Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a five

question, one-minute screening tool relying on patient self-reports that purportedly allows

doctors to manage the risk that their patients will become addicted to or abuse opioids. The

claimed ability to pre-sort patients likely to become addicted is an important tool in giving

doctors confidence to prescribe opioids long-term, and for this reason, references to screening

appear in various industry-supported guidelines. Versions of Dr. Webster’s Opioid Risk Tool

appear on, or are linked to, websites run by Endo, Janssen, and Purdue. Unaware of the flawed

science and industry bias underlying this tool, certain states and public entities have incorporated

the Opioid Risk Tool into their own guidelines, indicating, also, their reliance on the

Manufacturer Defendants and those under their influence and control.

           98.     In 2011, Dr. Webster presented, via webinar, a program sponsored by Purdue

entitled “Managing Patient’s Opioid Use: Balancing the Need and the Risk.” Dr. Webster

recommended use of risk screening tools, urine testing, and patient agreements as a way to

prevent “overuse of prescriptions” and “overdose deaths.” This webinar was available to and was

intended to reach doctors in the State and doctors treating members of Plaintiff’s Community.49

           99.     Dr. Webster also was a leading proponent of the concept of “pseudoaddiction,”

the notion that addictive behaviors should be seen not as warnings, but as indications of

undertreated pain. In Dr. Webster’s description, the only way to differentiate the two was to

increase a patient’s dose of opioids. As he and co-author Beth Dove wrote in their 2007 book

Avoiding Opioid Abuse While Managing Pain—a book that is still available online—when faced

with signs of aberrant behavior, increasing the dose “in most cases . . . should be the clinician’s

first response.”50 Upon information and belief, Endo distributed this book to doctors. Years later,


49
   See Emerging Solutions in Pain, Managing Patient’s Opioid Use: Balancing the Need and the Risk,
http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).
50
     Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).

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Dr. Webster reversed himself, acknowledging that “[pseudoaddiction] obviously became too

much of an excuse to give patients more medication.”51

       100.    The Manufacturer Defendants also entered into arrangements with seemingly

unbiased and independent patient and professional organizations to promote opioids for the

treatment of chronic pain. Under the direction and control of the Manufacturer Defendants, these

“Front Groups” generated treatment guidelines, unbranded materials, and programs that favored

chronic opioid therapy. They also assisted the Manufacturer Defendants by responding to

negative articles, by advocating against regulatory changes that would limit opioid prescribing in

accordance with the scientific evidence, and by conducting outreach to vulnerable patient

populations targeted by the Manufacturer Defendants.

       101.    These Front Groups depended on the Manufacturer Defendants for funding and,

in some cases, for survival. The Manufacturer Defendants also exercised control over programs

and materials created by these groups by collaborating on, editing, and approving their content,

and by funding their dissemination. In doing so, the Manufacturer Defendants made sure that the

Front Groups would generate only the messages that the Manufacturer Defendants wanted to

distribute. Despite this, the Front Groups held themselves out as independent and serving the

needs of their members – whether patients suffering from pain or doctors treating those patients.

       102.    Defendants Cephalon, Endo, Janssen, and Purdue, in particular, utilized many

Front Groups, including many of the same ones. Several of the most prominent are described

below, but there are many others, including the American Pain Society (“APS”), American

Geriatrics Society (“AGS”), the Federation of State Medical Boards (“FSMB”), American




51
    John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18, 2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html.


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Chronic Pain Association (“ACPA”), the Center for Practical Bioethics (“CPB”), the U.S. Pain

Foundation (“USPF”) and Pain & Policy Studies Group (“PPSG”).52

        103.    The most prominent of the Manufacturer Defendants’ Front Groups was the

American Pain Foundation (“APF”), which, upon information and belief, received more than $10

million in funding from opioid manufacturers from 2007 until it closed its doors in May 2012,

primarily from Endo and Purdue. APF issued education guides for patients, reporters, and

policymakers that touted the benefits of opioids for chronic pain and trivialized their risks,

particularly the risk of addiction. APF also launched a campaign to promote opioids for returning

veterans, which has contributed to high rates of addiction and other adverse outcomes –

including death – among returning soldiers. APF also engaged in a significant multimedia

campaign – through radio, television, and the internet – to educate patients about their “right” to

pain treatment, namely opioids. All of the programs and materials were available nationally and

were intended to reach citizens of the State and Plaintiff’s Community.

        104.    In 2009 and 2010, more than 80% of APF’s operating budget came from

pharmaceutical industry sources. Including industry grants for specific projects, APF received

about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

income of about $3.5 million. By 2011, upon information and belief, APF was entirely

dependent on incoming grants from defendants Purdue, Cephalon, Endo, and others to avoid

using its line of credit.

        105.    APF held itself out as an independent patient advocacy organization. It often

engaged in grassroots lobbying against various legislative initiatives that might limit opioid


52
   See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to Sec. Thomas E. Price, U.S.
Dep’t         of          Health         and      Human          Servs.,       (May        5,         2015),
https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secretary%20Price%20re
%20FDA%20Opioid%20Prescriber%20Working%20Group.pdf.


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prescribing, and thus the profitability of its sponsors. Upon information and belief, APF was

often called upon to provide “patient representatives” for the Manufacturer Defendants’

promotional activities, including for Purdue’s Partners Against Pain and Janssen’s Let’s Talk

Pain. APF functioned largely as an advocate for the interests of the Manufacturer Defendants,

not patients. Indeed, upon information and belief, as early as 2001, Purdue told APF that the

basis of a grant was Purdue’s desire to “strategically align its investments in nonprofit

organizations that share [its] business interests.”

        106.    Upon information and belief, on several occasions, representatives of the

Manufacturer Defendants, often at informal meetings at conferences, suggested activities and

publications for APF to pursue. APF then submitted grant proposals seeking to fund these

activities and publications, knowing that drug companies would support projects conceived as a

result of these communications.

        107.    The U.S. Senate Finance Committee began looking into APF in May 2012 to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. The investigation caused considerable damage to APF’s credibility as an

objective and neutral third party, and the Manufacturer Defendants stopped funding it. Within

days of being targeted by Senate investigation, APF’s board voted to dissolve the organization

“due to irreparable economic circumstances.” APF “cease[d] to exist, effective immediately.”53

        108.    Another front group for the Manufacturer Defendants was the American Academy

of Pain Medicine (“AAPM”). With the assistance, prompting, involvement, and funding of the

Manufacturer Defendants, the AAPM issued purported treatment guidelines and sponsored and




53
   Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain Groups, Wash. Post,
May 8, 2012, https://www.washingtonpost.com/national/health-science/senate-panel-investigates-drug-companies-
ties-to-pain-groups/2012/05/08/gIQA2X4qBU_story.html.


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hosted medical education programs essential to the Manufacturer Defendants’ deceptive

marketing of chronic opioid therapy.

       109.    AAPM received substantial funding from opioid manufacturers. For example,

AAPM maintained a corporate relations council, whose members paid $25,000 per year (on top

of other funding) to participate. The benefits included allowing members to present educational

programs at off-site dinner symposia in connection with AAPM’s marquee event – its annual

meeting held in Palm Springs, California, or other resort locations. AAPM describes the annual

event as an “exclusive venue” for offering education programs to doctors. Membership in the

corporate relations council also allows drug company executives and marketing staff to meet

with AAPM executive committee members in small settings. Defendants Endo, Purdue, and

Cephalon were members of the council and presented deceptive programs to doctors who

attended this annual event.

       110.    Upon information and belief, AAPM is viewed internally by Endo as “industry

friendly,” with Endo advisors and speakers among its active members. Endo attended AAPM

conferences, funded its CMEs, and distributed its publications. The conferences sponsored by

AAPM heavily emphasized sessions on opioids – 37 out of roughly 40 at one conference alone.

AAPM’s presidents have included top industry-supported KOLs Perry Fine and Lynn Webster.

Dr. Webster was even elected president of AAPM while under a DEA investigation.

       111.    The Manufacturer Defendants were able to influence AAPM through both their

significant and regular funding and the leadership of pro-opioid KOLs within the organization.

       112.    In 1996, AAPM and APS jointly issued a consensus statement, “The Use of

Opioids for the Treatment of Chronic Pain,” which endorsed opioids to treat chronic pain and

claimed that the risk of a patients’ addiction to opioids was low. Dr. Haddox, who co-authored

the AAPM/APS statement, was a paid speaker for Purdue at the time. Dr. Portenoy was the sole



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consultant. The consensus statement remained on AAPM’s website until 2011, and, upon

information and belief, was taken down from AAPM’s website only after a doctor complained.54

            113.   AAPM and APS issued their own guidelines in 2009 (“AAPM/APS Guidelines”)

and continued to recommend the use of opioids to treat chronic pain. 55 Treatment guidelines

have been relied upon by doctors, especially the general practitioners and family doctors targeted

by the Manufacturer Defendants. Treatment guidelines not only directly inform doctors’

prescribing practices but are cited throughout the scientific literature and referenced by third-

party payors in determining whether they should cover treatments for specific indications.

Pharmaceutical sales representatives employed by Endo, Actavis, and Purdue discussed

treatment guidelines with doctors during individual sales visits.

            114.   At least 14 of the 21 panel members who drafted the AAPM/APS Guidelines,

including KOLs Dr. Portenoy and Dr. Perry Fine of the University of Utah, received support

from Janssen, Cephalon, Endo, and Purdue. The 2009 Guidelines promote opioids as “safe and

effective” for treating chronic pain, despite acknowledging limited evidence, and conclude that

the risk of addiction is manageable for patients regardless of past abuse histories.56 One panel

member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan State University and

founder of the Michigan Headache & Neurological Institute, resigned from the panel because of

his concerns that the 2009 Guidelines were influenced by contributions that drug companies,

including Manufacturer Defendants, made to the sponsoring organizations and committee

members. These AAPM/APS Guidelines have been a particularly effective channel of deception

and have influenced not only treating physicians, but also the body of scientific evidence on


54
  The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the American Academy of
Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).
55
  Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).
56
     Id.


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opioids; the Guidelines have been cited hundreds of times in academic literature, were

disseminated in the State and/or Plaintiff’s Community during the relevant time period, are still

available online, and were reprinted in the Journal of Pain. The Manufacturer Defendants widely

referenced and promoted the 2009 Guidelines without disclosing the lack of evidence to support

them or the Manufacturer Defendants financial support to members of the panel.

       115.    The Manufacturer Defendants worked together, through Front Groups, to spread

their deceptive messages about the risks and benefits of long-term opioid therapy. For example,

Defendants combined their efforts through the Pain Care Forum (“PCF”), which began in 2004

as an APF project. PCF is composed of representatives from opioid manufacturers (including

Cephalon, Endo, Janssen, and Purdue) and various Front Groups, almost all of which received

substantial funding from the Manufacturer Defendants. Among other projects, PCF worked to

ensure that an FDA-mandated education project on opioids was not unacceptably negative and

did not require mandatory participation by prescribers, which the Manufacturer Defendants

determined would reduce prescribing.

              2. The Manufacturer Defendants’ Marketing Scheme Misrepresented the
                 Risks and Benefits of Opioids.

                      i.   The Manufacturer Defendants embarked upon a campaign of
                           false, deceptive, and unfair assurances grossly understating and
                           misstating the dangerous addiction risks of the opioid drugs.

       116.    To falsely assure physicians and patients that opioids are safe, the Manufacturer

Defendants deceptively trivialized and failed to disclose the risks of long-term opioid use,

particularly the risk of addiction, through a series of misrepresentations that have been

conclusively debunked by the FDA and CDC. These misrepresentations – which are described

below – reinforced each other and created the dangerously misleading impression that: (1)

starting patients on opioids was low risk because most patients would not become addicted, and

because those at greatest risk for addiction could be identified and managed; (2) patients who


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displayed signs of addiction probably were not addicted and, in any event, could easily be

weaned from the drugs; (3) the use of higher opioid doses, which many patients need to sustain

pain relief as they develop tolerance to the drugs, do not pose special risks; and (4) abuse-

deterrent opioids both prevent abuse and overdose and are inherently less addictive. The

Manufacturer Defendants have not only failed to correct these misrepresentations, they continue

to make them today.

        117.    Opioid manufacturers, including Defendants Endo Pharmaceuticals, Inc. and

Purdue Pharma L.P., have entered into settlement agreements with public entities that prohibit

them from making many of the misrepresentations identified in this Complaint. Yet even

afterward, each Manufacturer Defendant continued to misrepresent the risks and benefits of

long-term opioid use in the State and Plaintiff’s Community and each continues to fail to correct

its past misrepresentations.

        118.    Some illustrative examples of the Manufacturer Defendants’ false, deceptive, and

unfair claims about the purportedly low risk of addiction include:

            a. Actavis’s predecessor caused a patient education brochure, Managing Chronic
               Back Pain, to be distributed beginning in 2003 that admitted that opioid addiction
               is possible, but falsely claimed that it is “less likely if you have never had an
               addiction problem.” Based on Actavis’s acquisition of its predecessor’s marketing
               materials along with the rights to Kadian, it appears that Actavis continued to use
               this brochure in 2009 and beyond.

            b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which suggested that addiction is rare and limited to
               extreme cases of unauthorized dose escalations, obtaining duplicative opioid
               prescriptions from multiple sources, or theft. This publication is still available
               online.57

            c. Endo sponsored a website, “PainKnowledge,” which, upon information and
               belief, claimed in 2009 that “[p]eople who take opioids as prescribed usually do
               not become addicted.” Upon information and belief, another Endo website,
               PainAction.com, stated “Did you know? Most chronic pain patients do not

57
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.


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                 become addicted to the opioid medications that are prescribed for them.” Endo
                 also distributed an “Informed Consent” document on PainAction.com that
                 misleadingly suggested that only people who “have problems with substance
                 abuse and addiction” are likely to become addicted to opioid medications.

            d. Upon information and belief, Endo distributed a pamphlet with the Endo logo
               entitled Living with Someone with Chronic Pain, which stated that: “Most health
               care providers who treat people with pain agree that most people do not develop
               an addiction problem.”

            e. Janssen reviewed, edited, approved, and distributed a patient education guide
               entitled Finding Relief: Pain Management for Older Adults (2009), which
               described as “myth” the claim that opioids are addictive, and asserted as fact that
               “[m]any studies show that opioids are rarely addictive when used properly for the
               management of chronic pain.”

            f. Janssen currently runs a website, Prescriberesponsibly.com (last updated July 2,
               2015), which claims that concerns about opioid addiction are “overestimated.”

            g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
               Management, which claims that less than 1% of children prescribed opioids will
               become addicted and that pain is undertreated due to “[m]isconceptions about
               opioid addiction.”58

            h. Consistent with the Manufacturer Defendants’ published marketing materials,
               upon information and belief, detailers for Purdue, Endo, Janssen, and Cephalon in
               the State and Plaintiff’s Community minimized or omitted any discussion with
               doctors of the risk of addiction; misrepresented the potential for abuse of opioids
               with purportedly abuse-deterrent formulations; and routinely did not correct the
               misrepresentations noted above.

            i. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
               opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an
               amicus brief to the United States Fourth Circuit Court of Appeals that “patients
               rarely become addicted to prescribed opioids,” citing research by their KOL, Dr.
               Portenoy.59


        119.     These claims are contrary to longstanding scientific evidence. A 2016 opioid-

prescription guideline issued by the CDC (the “2016 CDC Guideline”) explains that there is

“[e]xtensive evidence” of the “possible harms of opioids (including opioid use disorder [an

58
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.
59
   Brief of the American Pain Foundation, the National Pain Foundation, and the National Foundation for the
Treatment of Pain in Support of Appellant and Reversal of the Conviction, United States v. Hurowitz, No. 05-4474
(4th Cir. Sept. 8, 2005) [hereinafter Brief of APF] at 9.


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alternative term for opioid addiction], [and] overdose . . .).”60 The 2016 CDC Guideline further

explains that “[o]pioid pain medication use presents serious risks, including overdose and opioid

use disorder” and that “continuing opioid therapy for 3 months substantially increases risk for

opioid use disorder.”61

            120.     The FDA further exposed the falsity of Defendants’ claims about the low risk of

addiction when it announced changes to the labels for extended-release and long-acting

(“ER/LA”) opioids in 2013 and for immediate release (“IR”) opioids in 2016. In its

announcements, the FDA found that “most opioid drugs have ‘high potential for abuse’” and that

opioids “are associated with a substantial risk of misuse, abuse, NOWS [neonatal opioid

withdrawal syndrome], addiction, overdose, and death.” According to the FDA, because of the

“known serious risks” associated with long-term opioid use, including “risks of addiction, abuse,

and misuse, even at recommended doses, and because of the greater risks of overdose and

death,” opioids should be used only “in patients for whom alternative treatment options” like

non-opioid drugs have failed.62

            121.     The State of New York, in a 2016 settlement agreement with Endo, found that

opioid “use disorders appear to be highly prevalent in chronic pain patients treated with opioids,

with up to 40% of chronic pain patients treated in specialty and primary care outpatient centers




60
   Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United States, 2016, Morbidity
& Mortality Wkly. Rep., Mar. 18, 2016, at 15 [hereinafter 2016 CDC Guideline],
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
61
     Id. at 2, 25.
62
   Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
U.S. Dep’t of Health and Human Servs., to Andrew Koldny, M.D., President, Physicians for Responsible Opioid
Prescribing (Sept. 10, 2013), https://www.regulations.gov/contentStreamer?documentId=FDA-2012-P-0818-
0793&attachmentNumber=1&contentType=pdf.; Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation
and Research, U.S. Food and Drug Admin., U.S. Dep’t of Health and Human Servs., to Peter R. Mathers & Jennifer
A.       Davidson,      Kleinfeld,      Kaplan      and      Becker,      LLP       (Mar.      22,      2016),
https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
0006&attachmentNumber=1&contentType=pdf.


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meeting the clinical criteria for an opioid use disorder.”63 Endo had claimed on its

www.opana.com website that “[m]ost healthcare providers who treat patients with pain agree

that patients treated with prolonged opioid medicines usually do not become addicted,” but the

State of New York found that Endo had no evidence for that statement. Consistent with this,

Endo agreed not to “make statements that . . . opioids generally are non-addictive” or “that most

patients who take opioids do not become addicted” in New York. Endo remains free, however, to

make those statements in this State.

           122.     In addition to mischaracterizing the highly addictive nature of the drugs they were

pushing, the Manufacturer Defendants also fostered a fundamental misunderstanding of the signs

of addiction. Specifically, the Manufacturer Defendants misrepresented, to doctors and patients,

that warning signs and/or symptoms of addiction were, instead, signs of undertreated pain (i.e.

pseudoaddiction) – and instructed doctors to increase the opioid prescription dose for patients

who were already in danger.

           123.     To this end, one of Purdue’s employees, Dr. David Haddox, invented a

phenomenon called “pseudoaddiction.” KOL Dr. Portenoy popularized the term. Examples of the

false, misleading, deceptive, and unfair statements regarding pseudoaddiction include:

               a. Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007), which
                  taught that behaviors such as “requesting drugs by name,” “demanding or
                  manipulative behavior,” seeing more than one doctor to obtain opioids, and
                  hoarding, are all signs of pseudoaddiction, rather than true addiction. 64 The 2012
                  edition, which remains available for sale online, continues to teach that
                  pseudoaddiction is real.65

               b. Janssen sponsored, funded, and edited the Let’s Talk Pain website, which in 2009
                  stated: “pseudoaddiction . . . refers to patient behaviors that may occur when pain
                  is under-treated . . . . Pseudoaddiction is different from true addiction because
                  such behaviors can be resolved with effective pain management.”

63
  Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo Pharm. Inc. (Assurance No. 15-228), at
16, https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
64
     Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2007) at 62.
65
     See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2d ed. 2012).


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           c. Endo sponsored a National Initiative on Pain Control (“NIPC”) CME program in
              2009 entitled “Chronic Opioid Therapy: Understanding Risk While Maximizing
              Analgesia,” which, upon information and belief, promoted pseudoaddiction by
              teaching that a patient’s aberrant behavior was the result of untreated pain. Endo
              appears to have substantially controlled NIPC by funding NIPC projects;
              developing, specifying, and reviewing content; and distributing NIPC materials.

           d. Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing Abuse,
              which, upon information and belief, described pseudoaddiction as a concept that
              “emerged in the literature” to describe the inaccurate interpretation of [drug-
              seeking behaviors] in patients who have pain that has not been effectively
              treated.”

           e. Upon information and belief, Purdue sponsored a CME program titled “Path of
              the Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse”. In a
              roleplay, a chronic pain patient with a history of drug abuse tells his doctor that he
              is taking twice as many hydrocodone pills as directed. The narrator notes that
              because of pseudoaddiction, the doctor should not assume the patient is addicted
              even if he persistently asks for a specific drug, seems desperate, hoards medicine,
              or “overindulges in unapproved escalating doses.” The doctor treats this patient
              by prescribing a high-dose, long-acting opioid.


       124.    In the 2016 CDC Guideline, the CDC rejects the validity of the pseudoaddiction

fallacy invented by a Purdue employee as a reason to push more opioid drugs onto already

addicted patients.

       125.    In addition to misstating the addiction risk and inventing the pseudoaddiction

falsehood, a third category of false, deceptive, and unfair practice is the Manufacturer

Defendants’ false instructions that addiction risk screening tools, patient contracts, urine drug

screens, and similar strategies allow them to reliably identify and safely prescribe opioids to

patients predisposed to addiction. These misrepresentations were especially insidious because the

Manufacturer Defendants aimed them at general practitioners and family doctors who lack the

time and expertise to closely manage higher-risk patients on opioids. The Manufacturer

Defendants’ misrepresentations made these doctors feel more comfortable prescribing opioids to

their patients, and patients more comfortable starting on opioid therapy for chronic pain.

Illustrative examples include:

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                  a. Endo paid for a 2007 supplement in the Journal of Family Practice written by a
                     doctor who became a member of Endo’s speakers bureau in 2010. The
                     supplement, entitled Pain Management Dilemmas in Primary Care: Use of
                     Opioids, emphasized the effectiveness of screening tools, claiming that patients at
                     high risk of addiction could safely receive chronic opioid therapy using a
                     “maximally structured approach” involving toxicology screens and pill counts.

                  b. Purdue, upon information and belief, sponsored a 2011 webinar, Managing
                     Patient’s Opioid Use: Balancing the Need and Risk, which claimed that screening
                     tools, urine tests, and patient agreements prevent “overuse of prescriptions” and
                     “overdose deaths.”

                  c. As recently as 2015, upon information and belief, Purdue has represented in
                     scientific conferences that “bad apple” patients – and not opioids – are the source
                     of the addiction crisis and that once those “bad apples” are identified, doctors can
                     safely prescribe opioids without causing addiction.


            126.     The 2016 CDC Guideline confirms the falsity of these claims. The Guideline

explains that there are no studies assessing the effectiveness of risk mitigation strategies “for

improving outcomes related to overdose, addiction, abuse or misuse.”66

            127.     A fourth category of deceptive messaging regarding dangerous opioids is the

Manufacturer Defendants’ false assurances regarding the alleged ease of eliminating opioid

dependence. The Manufacturer Defendants falsely claimed that opioid dependence can easily be

addressed by tapering and that opioid withdrawal is not a problem, but they failed to disclose the

increased difficulty of stopping opioids after long-term use. In truth, the 2016 CDC Guideline

explains that the symptoms of opioid withdrawal include abdominal pain, vomiting, diarrhea,

sweating, tremor, tachycardia, drug cravings, anxiety, insomnia, spontaneous abortion and

premature labor in pregnant women.67

            128.     The Manufacturer Defendants nonetheless downplayed the severity of opioid

detoxification. For example, upon information and belief, a CME sponsored by Endo, entitled

Persistent Pain in the Older Adult, claimed that withdrawal symptoms can be avoided by

66
     Id. at 11.
67
     Id. at 26.


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tapering a patient’s opioid dose by 10%-20% for 10 days. And Purdue sponsored APF’s A

Policymaker’s Guide to Understanding Pain & Its Management, which claimed that

“[s]ymptoms of physical dependence can often be ameliorated by gradually decreasing the dose

of medication during discontinuation” without mentioning any hardships that might occur.68

        129.    A fifth category of false, deceptive, and unfair statements the Manufacturer

Defendants made to sell more drugs is that opioid dosages could be increased indefinitely

without added risk. The ability to escalate dosages was critical to Defendants’ efforts to market

opioids for long-term use to treat chronic pain because, absent this misrepresentation, doctors

would have abandoned treatment when patients built up tolerance and lower dosages did not

provide pain relief. The Manufacturer Defendants’ deceptive claims include:

            a. Upon information and belief, Actavis’s predecessor created a patient brochure for
               Kadian in 2007 that stated, “Over time, your body may become tolerant of your
               current dose. You may require a dose adjustment to get the right amount of pain
               relief. This is not addiction.” Based on Actavis’s acquisition of its predecessor’s
               marketing materials along with the rights to Kadian, Actavis appears to have
               continued to use these materials in 2009 and beyond.

            b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which claims that some patients “need” a larger dose of
               an opioid, regardless of the dose currently prescribed. The guide stated that
               opioids have “no ceiling dose” and insinuated that they are therefore the most
               appropriate treatment for severe pain.69 This publication is still available online.

            c. Endo sponsored a website, “PainKnowledge,” which, upon information and
               belief, claimed in 2009 that opioid dosages may be increased until “you are on the
               right dose of medication for your pain.”

            d. Endo distributed a pamphlet edited by a KOL entitled Understanding Your Pain:
               Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals PM-0120). In Q&A
               format, it asked “If I take the opioid now, will it work later when I really need it?”
               The response is, “The dose can be increased. . . . You won’t ‘run out’ of pain
               relief.”70
68
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 32.
69
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf., at 12.
70
  Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain: Taking Oral Opioid Analgesics
(Russell K Portenoy, M.D., ed., 2004).

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                e. Janssen sponsored a patient education guide entitled Finding Relief: Pain
                   Management for Older Adults (2009), which was distributed by its sales force.
                   This guide listed dosage limitations as “disadvantages” of other pain medicines
                   but omitted any discussion of risks of increased opioid dosages.

                f. Upon information and belief, Purdue’s In the Face of Pain website promoted the
                   notion that if a patient’s doctor does not prescribe what, in the patient’s view, is a
                   sufficient dosage of opioids, he or she should find another doctor who will.

                g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                   Management, which taught that dosage escalations are “sometimes necessary,”
                   and that “the need for higher doses of medication is not necessarily indicative of
                   addiction,” but inaccurately downplayed the risks from high opioid dosages.71

                h. In 2007, Purdue sponsored a CME entitled “Overview of Management Options”
                   that was available for CME credit and available until at least 2012. The CME was
                   edited by a KOL and taught that NSAIDs and other drugs, but not opioids, are
                   unsafe at high dosages.

                i. Purdue presented a 2015 paper at the College on the Problems of Drug
                   Dependence, “the oldest and largest organization in the US dedicated to
                   advancing a scientific approach to substance use and addictive disorders,”
                   challenging the correlation between opioid dosage and overdose.72

                j. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                   opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an
                   amicus brief to the United States Fourth Circuit Court of Appeals that “there is no
                   ‘ceiling dose’” for opioids.73


           130.      Once again, the 2016 CDC Guideline reveals that the Manufacturer Defendants’

representations regarding opioids were lacking in scientific evidence. The 2016 CDC Guideline

clarifies that the “[b]enefits of high-dose opioids for chronic pain are not established” while the

“risks for serious harms related to opioid therapy increase at higher opioid dosage.” 74 More

specifically, the CDC explains that “there is now an established body of scientific evidence




71
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 32.
72
     The College on Problems of Drug Dependence, About the College, http://cpdd.org (last visited Aug. 21, 2017).
73
     Brief of APF, at 9.
74
     2016 CDC Guideline at 22–23.


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showing that overdose risk is increased at higher opioid dosages.”75 The CDC also states that

there is an increased risk “for opioid use disorder, respiratory depression, and death at higher

dosages.”76 That is why the CDC advises doctors to “avoid increasing dosage” to above 90

morphine milligram equivalents per day.77

            131.      Defendants’ deceptive marketing of the so-called abuse-deterrent properties of

some of their opioids has created false impressions that these opioids can cure addiction and

abuse.

            132.      The Manufacturer Defendants made misleading claims about the ability of their

so-called abuse-deterrent opioid formulations to deter abuse. For example, Endo’s

advertisements for the 2012 reformulation of Opana ER claimed that it was designed to be crush

resistant, in a way that suggested it was more difficult to abuse. This claim was false. The FDA

warned in a 2013 letter that Opana ER Extended-Release Tablets’ “extended-release features can

be compromised, causing the medication to ‘dose dump,’ when subject to . . . forms of

manipulation such as cutting, grinding, or chewing, followed by swallowing.”78 Also troubling,

Opana ER can be prepared for snorting using commonly available methods and “readily

prepared for injection.”79 The letter discussed “the troubling possibility that a higher (and rising)

percentage of [Opana ER Extended-Release Tablet] abuse is occurring via injection.”80 Endo’s

own studies, which it failed to disclose, showed that Opana ER could still be ground and chewed.

In June 2017, the FDA requested that Opana ER be removed from the market.


75
     Id. at 23–24.
76
     Id. at 21.
77
     Id. at 16.
78
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
U.S. Dep’t of Health and Human Servs., to Robert Barto, Vice President, Reg. Affairs, Endo Pharm. Inc. (May 10,
2013), at 5.
79
     Id. at 6.
80
     Id. at 6 n.21.


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                             ii.   The Manufacturer Defendants embarked upon a campaign of
                                   false, deceptive, and unfair assurances grossly overstating the
                                   benefits of the opioid drugs.

            133.     To convince doctors and patients that opioids should be used to treat chronic pain,

the Manufacturer Defendants also had to persuade them that there was a significant upside to

long-term opioid use. But as the CDC Guideline makes clear, “[n]o evidence shows a long-term

benefit of opioids in pain and function versus no opioids for chronic pain with outcomes

examined at least 1 year later (with most placebo-controlled randomized trials ≤ 6 weeks in

duration)” and that other treatments were more or equally beneficial and less harmful than long-

term opioid use.81 The FDA, too, has recognized the lack of evidence to support long-term opioid

use. Despite this, Defendants falsely and misleadingly touted the benefits of long-term opioid use

and falsely and misleadingly suggested that these benefits were supported by scientific evidence.

            134.     Some illustrative examples of the Manufacturer Defendants’ false claims are:

                  a. Upon information and belief, Actavis distributed an advertisement claiming that
                     the use of Kadian to treat chronic pain would allow patients to return to work,
                     relieve “stress on your body and your mental health,” and help patients enjoy their
                     lives.

                  b. Endo distributed advertisements that claimed that the use of Opana ER for chronic
                     pain would allow patients to perform demanding tasks like construction work or
                     work as a chef and portrayed seemingly healthy, unimpaired subjects.

                  c. Janssen sponsored and edited a patient education guide entitled Finding Relief:
                     Pain Management for Older Adults (2009) – which states as “a fact” that “opioids
                     may make it easier for people to live normally.” The guide lists expected
                     functional improvements from opioid use, including sleeping through the night,
                     returning to work, recreation, sex, walking, and climbing stairs.

                  d. Janssen promoted Ultracet for everyday chronic pain and distributed posters, for
                     display in doctors’ offices, of presumed patients in active professions; the caption
                     read, “Pain doesn’t fit into their schedules.”

                  e. Upon information and belief, Purdue ran a series of advertisements for OxyContin
                     in 2012 in medical journals entitled “Pain vignettes,” which were case studies
                     featuring patients with pain conditions persisting over several months and

81
     Id. at 15.


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                recommending OxyContin for them. The ads implied that OxyContin improves
                patients’ function.

            f. Responsible Opioid Prescribing (2007), sponsored and distributed by Cephalon,
               Endo and Purdue, taught that relief of pain by opioids, by itself, improved
               patients’ function.

            g. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which counseled patients that opioids “give [pain
               patients] a quality of life we deserve.”82 This publication is still available online.

            h. Endo’s NIPC website “PainKnowledge” claimed in 2009, upon information and
               belief, that with opioids, “your level of function should improve; you may find
               you are now able to participate in activities of daily living, such as work and
               hobbies, that you were not able to enjoy when your pain was worse.” Elsewhere,
               the website touted improved quality of life (as well as “improved function”) as
               benefits of opioid therapy. The grant request that Endo approved for this project
               specifically indicated NIPC’s intent to make misleading claims about function,
               and Endo closely tracked visits to the site.

            i. Endo was the sole sponsor, through NIPC, of a series of CMEs entitled
               “Persistent Pain in the Older Patient.”83 Upon information and belief, a CME
               disseminated via webcast claimed that chronic opioid therapy has been “shown to
               reduce pain and improve depressive symptoms and cognitive functioning.”

            j. Janssen sponsored and funded a multimedia patient education campaign called
               “Let’s Talk Pain.” One feature of the campaign was to complain that patients
               were under-treated. In 2009, upon information and belief, a Janssen-sponsored
               website, part of the “Let’s Talk Pain” campaign, featured an interview edited by
               Janssen claiming that opioids allowed a patient to “continue to function.”

            k. Purdue sponsored the development and distribution of APF’s A Policymaker’s
               Guide to Understanding Pain & Its Management, which claimed that “[m]ultiple
               clinical studies” have shown that opioids are effective in improving “[d]aily
               function,” “[p]sychological health,” and “[o]verall health-related quality of life
               for chronic pain.”84 The Policymaker’s Guide was originally published in 2011.

            l. Purdue’s, Cephalon’s, Endo’s, and Janssen’s sales representatives have conveyed
               and continue to convey the message that opioids will improve patient function.



82
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.
83
         E.g.,    NIPC,       Persistent     Pain       and      the     Older          Patient      (2007),
https://www.painedu.org/Downloads/NIPC/Activities/B173_Providence_RI_%20Invite.pdf.
84
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 29.


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           135.    As the FDA and other agencies have made clear for years, these claims have no

support in the scientific literature.

           136.    In 2010, the FDA warned Actavis, in response to its advertising of Kadian

described above, that “we are not aware of substantial evidence or substantial clinical experience

demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

together with any drug-related side effects patients may experience . . . results in any overall

positive impact on a patient’s work, physical and mental functioning, daily activities, or

enjoyment of life.”85 And in 2008, upon information and belief, the FDA sent a warning letter to

an opioid manufacturer, making it clear “that [the claim that] patients who are treated with the

drug experience an improvement in their overall function, social function, and ability to perform

daily activities . . . has not been demonstrated by substantial evidence or substantial clinical

experience.”

           137.    The Manufacturer Defendants also falsely and misleadingly emphasized or

exaggerated the risks of competing medications like NSAIDs, so that doctors and patients would

look to opioids first for the treatment of chronic pain. Once again, these misrepresentations by

the Manufacturer Defendants contravene pronouncements by and guidance from the FDA and

CDC based on the scientific evidence. Indeed, the FDA changed the labels for ER/LA opioids in

2013 and IR opioids in 2016 to state that opioids should only be used as a last resort “in patients

for which alternative treatment options” like non-opioid drugs “are inadequate.” And the 2016

CDC Guideline states that NSAIDs, not opioids, should be the first-line treatment for chronic

pain, particularly arthritis and lower back pain.86 Purdue misleadingly promoted OxyContin as

being unique among opioids in providing 12 continuous hours of pain relief with one dose. In

85
   Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to
Doug         Boothe,      CEO,          Actavis        Elizabeth       LLC     (Feb.     18,     2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.
86
     2016 CDC Guideline at 12.


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fact, OxyContin does not last for 12 hours – a fact that Purdue has known at all times relevant to

this action. Upon information and belief, Purdue’s own research shows that OxyContin wears off

in under six hours in one quarter of patients and in under 10 hours in more than half. This is

because OxyContin tablets release approximately 40% of their active medicine immediately,

after which release tapers. This triggers a powerful initial response but provides little or no pain

relief at the end of the dosing period, when less medicine is released. This phenomenon is known

as “end of dose” failure, and the FDA found in 2008 that a “substantial proportion” of chronic

pain patients taking OxyContin experience it. This not only renders Purdue’s promise of 12

hours of relief false and deceptive, it also makes OxyContin more dangerous because the

declining pain relief patients experience toward the end of each dosing period drives them to take

more OxyContin before the next dosing period begins, quickly increasing the amount of drug

they are taking and spurring growing dependence.

       138.    Purdue’s competitors were aware of this problem. For example, upon information

and belief, Endo ran advertisements for Opana ER referring to “real” 12-hour dosing.

Nevertheless, Purdue falsely promoted OxyContin as if it were effective for a full 12 hours.

Upon information and belief, Purdue’s sales representatives continue to tell doctors that

OxyContin lasts a full 12 hours.

       139.    Front Groups supported by Purdue likewise echoed these representations. For

example, in an amicus brief submitted to the Supreme Court of Ohio by the American Pain

Foundation, the National Foundation for the Treatment of Pain and the Ohio Pain Initiative in

support of Purdue, those amici represented:

       OxyContin is particularly useful for sustained long-term pain because it comes in
       higher, compact pills with a slow release coating. OxyContin pills can work for
       12 hours. This makes it easier for patients to comply with dosing requirements
       without experiencing a roller-coaster of pain relief followed quickly by pain
       renewal that can occur with shorter acting medications. It also helps the patient
       sleep through the night, which is often impossible with short-acting medications.


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            For many of those serviced by Pain Care Amici, OxyContin has been a miracle
            medication.87

            140.   Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain

even though the FDA has expressly limited their use to the treatment of cancer pain in opioid

tolerant individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids.

Neither is approved for or has been shown to be safe or effective for chronic pain. Indeed, the

FDA expressly prohibited Cephalon from marketing Actiq for anything but cancer pain and

refused to approve Fentora for the treatment of chronic pain because of the potential harm,

including the high risk of “serious and life-threatening adverse events” and abuse – which are

greatest in non-cancer patients. The FDA also issued a Public Health Advisory in 2007

emphasizing that Fentora should only be used for cancer patients who are opioid-tolerant and

should not be used for any other conditions, such as migraines, post-operative pain, or pain due

to injury.88 Specifically, the FDA advised that Fentora “is only approved for breakthrough cancer

pain in patients who are opioid-tolerant, meaning those patients who take a regular, daily,

around-the-clock narcotic pain medication.”89

            141.   Despite this, Cephalon conducted and continues to conduct a well-funded

campaign to promote Actiq and Fentora for chronic pain and other non-cancer conditions for

which it was not approved, appropriate, and for which it is not safe. As part of this campaign,

Cephalon used CMEs, speaker programs, KOLs, journal supplements, and detailing by its sales

representatives to give doctors the false impression that Actiq and Fentora are safe and effective

for treating non-cancer pain. For example:

87
   Reply Brief of Amicus Curiae of the American Pain Foundation, The National Foundation for the Treatment of
Pain and the Ohio Pain Initiative Supporting Appellants, Howland v. Purdue Pharma L.P., No. 2003-1538 (Ohio
Apr. 13, 2004), 2004 WL 1637768, at *4 (footnote omitted).
88
   See U.S. Food & Drug Admin., Public Health Advisory: Important Information for the Safe Use of Fentora
(fentanyl              buccal             tablets)             (Sept.               26,             2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm051273.htm.
89
     Id.


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       a. Cephalon paid to have a CME it sponsored, Opioid-Based Management of Persistent
          and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009.
          The CME instructed doctors that “[c]linically, broad classification of pain syndromes
          as either cancer- or non-cancer-related has limited utility” and recommended Actiq
          and Fentora for patients with chronic pain.

       b. Upon information and belief, Cephalon’s sales representatives set up hundreds of
          speaker programs for doctors, including many non-oncologists, which promoted
          Actiq and Fentora for the treatment of non-cancer pain.

       c. In December 2011, Cephalon widely disseminated a journal supplement entitled
          “Special Report: An Integrated Risk Evaluation and Mitigation Strategy for Fentanyl
          Buccal Tablet (FENTORA) and Oral Transmucosal Fentanyl Citrate (ACTIQ)” to
          Anesthesiology News, Clinical Oncology News, and Pain Medicine News – three
          publications that are sent to thousands of anesthesiologists and other medical
          professionals. The Special Report openly promotes Fentora for “multiple causes of
          pain” – and not just cancer pain.

       142.    Cephalon’s deceptive marketing gave doctors and patients the false impression

that Actiq and Fentora were not only safe and effective for treating chronic pain but were also

approved by the FDA for such uses.

       143.    Purdue also unlawfully and unfairly failed to report or address illicit and unlawful

prescribing of its drugs, despite knowing about it for years. Purdue’s sales representatives have

maintained a database since 2002 of doctors suspected of inappropriately prescribing its drugs.

Rather than report these doctors to state medical boards or law enforcement authorities (as

Purdue is legally obligated to do) or cease marketing to them, Purdue used the list to demonstrate

the high rate of diversion of OxyContin – the same OxyContin that Purdue had promoted as less

addictive – in order to persuade the FDA to bar the manufacture and sale of generic copies of the

drug because the drug was too likely to be abused. In an interview with the Los Angeles Times,

Purdue’s senior compliance officer acknowledged that in five years of investigating suspicious

pharmacies, Purdue failed to take action – even where Purdue employees personally witnessed

the diversion of its drugs. The same was true of prescribers; despite its knowledge of illegal

prescribing, Purdue did not report that a Los Angeles clinic prescribed more than 1.1 million


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OxyContin tablets and that Purdue’s district manager described it internally as “an organized

drug ring” until years after law enforcement shut it down. In doing so, Purdue protected its own

profits at the expense of public health and safety.90

        144.     Like Purdue, Endo has been cited for its failure to set up an effective system for

identifying and reporting suspicious prescribing. In its settlement agreement with Endo, the State

of New York found that Endo failed to require sales representatives to report signs of abuse,

diversion, and inappropriate prescribing; paid bonuses to sales representatives for detailing

prescribers who were subsequently arrested or convicted for illegal prescribing; and failed to

prevent sales representatives from visiting prescribers whose suspicious conduct had caused

them to be placed on a no-call list.

               3. The Manufacturer Defendants Targeted Susceptible Prescribers and
                  Vulnerable Patient Populations.

        145.     As a part of their deceptive marketing scheme, the Manufacturer Defendants

identified and targeted susceptible prescribers and vulnerable patient populations in the U.S.,

including this State and Plaintiff’s Community. For example, the Manufacturer Defendants

focused their deceptive marketing on primary care doctors, who were more likely to treat chronic

pain patients and prescribe them drugs but were less likely to be educated about treating pain and

the risks and benefits of opioids and therefore more likely to accept the Manufacturer

Defendants’ misrepresentations.

        146.     The Manufacturer Defendants also targeted vulnerable patient populations like the

elderly and veterans, who tend to suffer from chronic pain. The Manufacturer Defendants

targeted these vulnerable patients even though the risks of long-term opioid use were

significantly greater for them. For example, the 2016 CDC Guideline observes that existing



90
  Harriet Ryan et al., More Than 1 Million Oxycontin Pills Ended Up in the Hands of Criminals and Addicts. What
the Drugmaker Knew, L.A. Times, July 10, 2016, http://www.latimes.com/projects/la-me-oxycontin-part2/.


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evidence confirms that elderly patients taking opioids suffer from elevated fall and fracture risks,

reduced renal function and medication clearance, and a smaller window between safe and unsafe

dosages.91 The 2016 CDC Guideline concludes that there must be “additional caution and

increased monitoring” to minimize the risks of opioid use in elderly patients. Id. at 27. The same

is true for veterans, who are more likely to use anti-anxiety drugs (benzodiazepines) for post-

traumatic stress disorder, which interact dangerously with opioids.

                  4. The Manufacturer Defendants Made Materially Deceptive Statements and
                     Concealed Materials Facts.

           147.     As alleged herein, the Manufacturer Defendants made and/or disseminated

deceptive statements regarding material facts and further concealed material facts, in the course

of manufacturing, marketing, and selling prescription opioids. The Manufacturer Defendants’

actions were intentional and/or unlawful. Such statements include, but are not limited to, those

set out below and alleged throughout this Complaint.

           148.     Defendant Purdue made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

            a. Creating, sponsoring, and assisting in the distribution of patient education materials
               distributed to consumers that contained deceptive statements;

            b. Creating and disseminating advertisements that contained deceptive statements
               concerning the ability of opioids to improve function long-term and concerning the
               evidence supporting the efficacy of opioids long-term for the treatment of chronic
               non-cancer pain;

            c. Disseminating misleading statements concealing the true risk of addiction and
               promoting the deceptive concept of pseudoaddiction through Purdue’s own
               unbranded publications and on internet sites Purdue operated that were marketed to
               and accessible by consumers;

            d. Distributing brochures to doctors, patients, and law enforcement officials that
               included deceptive statements concerning the indicators of possible opioid abuse;
91
     2016 CDC Guideline at 13.


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  e. Sponsoring, directly distributing, and assisting in the distribution of publications that
     promoted the deceptive concept of pseudoaddiction, even for high-risk patients;

  f. Endorsing, directly distributing, and assisting in the distribution of publications that
     presented an unbalanced treatment of the long-term and dose-dependent risks of
     opioids versus NSAIDs;

  g. Providing significant financial support to pro-opioid KOL doctors who made
     deceptive statements concerning the use of opioids to treat chronic non-cancer pain;

  h. Providing needed financial support to pro-opioid pain organizations that made
     deceptive statements, including in patient education materials, concerning the use of
     opioids to treat chronic non-cancer pain;

  i. Assisting in the distribution of guidelines that contained deceptive statements
     concerning the use of opioids to treat chronic non-cancer pain and misrepresented
     the risks of opioid addiction;

  j. Endorsing and assisting in the distribution of CMEs containing deceptive statements
     concerning the use of opioids to treat chronic non-cancer pain;

  k. Developing and disseminating scientific studies that misleadingly concluded opioids
     are safe and effective for the long-term treatment of chronic non-cancer pain and that
     opioids improve quality of life, while concealing contrary data;

  l. Assisting in the dissemination of literature written by pro-opioid KOLs that
     contained deceptive statements concerning the use of opioids to treat chronic non-
     cancer pain;

  m. Creating, endorsing, and supporting the distribution of patient and prescriber
     education materials that misrepresented the data regarding the safety and efficacy of
     opioids for the long-term treatment of chronic non-cancer pain, including known
     rates of abuse and addiction and the lack of validation for long-term efficacy;

  n. Targeting veterans by sponsoring and disseminating patient education marketing
     materials that contained deceptive statements concerning the use of opioids to treat
     chronic non-cancer pain;

  o. Targeting the elderly by assisting in the distribution of guidelines that contained
     deceptive statements concerning the use of opioids to treat chronic non-cancer pain
     and misrepresented the risks of opioid addiction in this population;

  p. Exclusively disseminating misleading statements in education materials to hospital
     doctors and staff while purportedly educating them on new pain standards;

  q. Making deceptive statements concerning the use of opioids to treat chronic non-
     cancer pain to prescribers through in-person detailing; and

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        r. Withholding from law enforcement the names of prescribers Purdue believed to be
           facilitating the diversion of its opioid, while simultaneously marketing opioids to
           these doctors by disseminating patient and prescriber education materials and
           advertisements and CMEs they knew would reach these same prescribers.

       149.    Defendant Endo made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

       a. Creating, sponsoring, and assisting in the distribution of patient education materials
          that contained deceptive statements;

       b. Creating and disseminating advertisements that contained deceptive statements
          concerning the ability of opioids to improve function long-term and concerning the
          evidence supporting the efficacy of opioids long-term for the treatment of chronic
          non-cancer pain;

       c. Creating and disseminating paid advertisement supplements in academic journals
          promoting chronic opioid therapy as safe and effective for long term use for high risk
          patients;

       d. Creating and disseminating advertisements that falsely and inaccurately conveyed the
          impression that Endo’s opioids would provide a reduction in oral, intranasal, or
          intravenous abuse;

       e. Disseminating misleading statements concealing the true risk of addiction and
          promoting the misleading concept of pseudoaddiction through Endo’s own unbranded
          publications and on internet sites Endo sponsored or operated;

       f. Endorsing, directly distributing, and assisting in the distribution of publications that
          presented an unbalanced treatment of the long-term and dose-dependent risks of
          opioids versus NSAIDs;

       g. Providing significant financial support to pro-opioid KOLs, who made deceptive
          statements concerning the use of opioids to treat chronic non-cancer pain;

       h. Providing needed financial support to pro-opioid pain organizations – including over
          $5 million to the organization responsible for many of the most egregious
          misrepresentations – that made deceptive statements, including in patient education
          materials, concerning the use of opioids to treat chronic non-cancer pain;

       i. Targeting the elderly by assisting in the distribution of guidelines that contained
          deceptive statements concerning the use of opioids to treat chronic non-cancer pain
          and misrepresented the risks of opioid addiction in this population;


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       j. Endorsing and assisting in the distribution of CMEs containing deceptive statements
          concerning the use of opioids to treat chronic non-cancer pain;

       k. Developing and disseminating scientific studies that deceptively concluded opioids
          are safe and effective for the long-term treatment of chronic non-cancer pain and that
          opioids improve quality of life, while concealing contrary data;

       l. Directly distributing and assisting in the dissemination of literature written by pro-
          opioid KOLs that contained deceptive statements concerning the use of opioids to
          treat chronic non-cancer pain, including the concept of pseudoaddiction;

       m. Creating, endorsing, and supporting the distribution of patient and prescriber
          education materials that misrepresented the data regarding the safety and efficacy of
          opioids for the long-term treatment of chronic non-cancer pain, including known rates
          of abuse and addiction and the lack of validation for long-term efficacy; and

       n. Making deceptive statements concerning the use of opioids to treat chronic non-
          cancer pain to prescribers through in-person detailing.

       150.    Defendant Janssen made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

       a. Creating, sponsoring, and assisting in the distribution of patient education materials
          that contained deceptive statements;

       b. Directly disseminating deceptive statements through internet sites over which Janssen
          exercised final editorial control and approval stating that opioids are safe and
          effective for the long-term treatment of chronic non-cancer pain and that opioids
          improve quality of life, while concealing contrary data;

       c. Disseminating deceptive statements concealing the true risk of addiction and
          promoting the deceptive concept of pseudoaddiction through internet sites over which
          Janssen exercised final editorial control and approval;

       d. Promoting opioids for the treatment of conditions for which Janssen knew, due to the
          scientific studies it conducted, that opioids were not efficacious and concealing this
          information;

       e. Sponsoring, directly distributing, and assisting in the dissemination of patient
          education publications over which Janssen exercised final editorial control and
          approval, which presented an unbalanced treatment of the long-term and dose
          dependent risks of opioids versus NSAIDs;



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       f. Providing significant financial support to pro-opioid KOLs, who made deceptive
          statements concerning the use of opioids to treat chronic non-cancer pain;

       g. Providing necessary financial support to pro-opioid pain organizations that made
          deceptive statements, including in patient education materials, concerning the use of
          opioids to treat chronic non-cancer pain;

       h. Targeting the elderly by assisting in the distribution of guidelines that contained
          deceptive statements concerning the use of opioids to treat chronic non-cancer pain
          and misrepresented the risks of opioid addiction in this population;

       i. Targeting the elderly by sponsoring, directly distributing, and assisting in the
          dissemination of patient education publications targeting this population that
          contained deceptive statements about the risks of addiction and the adverse effects of
          opioids, and made false statements that opioids are safe and effective for the long-
          term treatment of chronic non-cancer pain and improve quality of life, while
          concealing contrary data;

       j. Endorsing and assisting in the distribution of CMEs containing deceptive statements
          concerning the use of opioids to treat chronic non-cancer pain;

       k. Directly distributing and assisting in the dissemination of literature written by pro-
          opioid KOLs that contained deceptive statements concerning the use of opioids to
          treat chronic non-cancer pain, including the concept of pseudoaddiction;

       l. Creating, endorsing, and supporting the distribution of patient and prescriber
          education materials that misrepresented the data regarding the safety and efficacy of
          opioids for the long-term treatment of chronic non-cancer pain, including known rates
          of abuse and addiction and the lack of validation for long-term efficacy;

       m. Targeting veterans by sponsoring and disseminating patient education marketing
          materials that contained deceptive statements concerning the use of opioids to treat
          chronic non-cancer pain; and

       n. Making deceptive statements concerning the use of opioids to treat chronic non-
          cancer pain to prescribers through in-person detailing.

       151.    Defendant Cephalon made and/or disseminated untrue, false, and deceptive

statements, and concealed material facts in such a way to make their statements deceptive,

including, but not limited to, the following:

       a. Creating, sponsoring, and assisting in the distribution of patient education materials
          that contained deceptive statements;



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       b. Sponsoring and assisting in the distribution of publications that promoted the
          deceptive concept of pseudoaddiction, even for high-risk patients;

       c. Providing significant financial support to pro-opioid KOL doctors who made
          deceptive statements concerning the use of opioids to treat chronic non-cancer pain
          and breakthrough chronic non-cancer pain;

       d. Developing and disseminating scientific studies that deceptively concluded opioids
          are safe and effective for the long-term treatment of chronic non-cancer pain in
          conjunction with Cephalon’s potent rapid-onset opioids;

       e. Providing needed financial support to pro-opioid pain organizations that made
          deceptive statements, including in patient education materials, concerning the use of
          opioids to treat chronic non-cancer pain;

       f. Endorsing and assisting in the distribution of CMEs containing deceptive statements
          concerning the use of opioids to treat chronic non-cancer pain;

       g. Endorsing and assisting in the distribution of CMEs containing deceptive statements
          concerning the use of Cephalon’s rapid-onset opioids;

       h. Directing its marketing of Cephalon’s rapid-onset opioids to a wide range of doctors,
          including general practitioners, neurologists, sports medicine specialists, and
          workers’ compensation programs, serving chronic pain patients;

       i. Making deceptive statements concerning the use of Cephalon’s opioids to treat
          chronic non-cancer pain to prescribers through in-person detailing and speakers’
          bureau events, when such uses are unapproved and unsafe; and

       j. Making deceptive statements concerning the use of opioids to treat chronic non-
          cancer pain to prescribers through in-person detailing and speakers’ bureau events.

       152.    Defendant Actavis made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

       a. Making deceptive statements concerning the use of opioids to treat chronic non-
          cancer pain to prescribers through in-person detailing;

       b. Creating and disseminating advertisements that contained deceptive statements that
          opioids are safe and effective for the long-term treatment of chronic non-cancer pain
          and that opioids improve quality of life;

       c. Creating and disseminating advertisements that concealed the risk of addiction in the
          long-term treatment of chronic, non-cancer pain; and

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       d. Developing and disseminating scientific studies that deceptively concluded opioids
          are safe and effective for the long-term treatment of chronic non-cancer pain and that
          opioids improve quality of life while concealing contrary data.

              5. The Manufacturer Defendants Fraudulently Concealed Their Misconduct.

       153.    The Manufacturer Defendants, both individually and collectively, made,

promoted, and profited from their misrepresentations about the risks and benefits of opioids for

chronic pain even though they knew that their misrepresentations were false and deceptive. The

history of opioids, as well as research and clinical experience establish that opioids are highly

addictive and are responsible for a long list of very serious adverse outcomes. The FDA warned

Defendants of this, and Defendants had access to scientific studies, detailed prescription data,

and reports of adverse events, including reports of addiction, hospitalization, and death – all of

which clearly described the harm from long-term opioid use and that patients were suffering

from addiction, overdose, and death in alarming numbers. More recently, the FDA and CDC

have issued pronouncements, based on medical evidence, that conclusively expose the falsity of

Defendants’ misrepresentations, and Endo and Purdue have recently entered agreements in New

York prohibiting them from making some of the same misrepresentations described in this

Complaint.

       154.    At all times relevant to this Complaint, the Manufacturer Defendants took steps to

avoid detection of and to fraudulently conceal their deceptive marketing and unlawful, unfair,

and fraudulent conduct. For example, the Manufacturer Defendants disguised their role in the

deceptive marketing of chronic opioid therapy by funding and working through third parties like

Front Groups and KOLs. The Manufacturer Defendants purposefully hid behind the assumed

credibility of these individuals and organizations and relied on them to vouch for the accuracy

and integrity of the Manufacturer Defendants’ false and deceptive statements about the risks and

benefits of long-term opioid use for chronic pain. Defendants also never disclosed their role in



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shaping, editing, and approving the content of information and materials disseminated by these

third parties. The Manufacturer Defendants exerted considerable influence on these promotional

and “educational” materials in emails, correspondence, and meetings with KOLs, Front Groups,

and public relations companies that were not, and have not yet become, public. For example,

PainKnowledge.org, which is run by the NIPC, did not disclose Endo’s involvement. Other

Manufacturer Defendants, such as Purdue and Janssen, ran similar websites that masked their

own role.

       155.   Finally, the Manufacturer Defendants manipulated their promotional materials

and the scientific literature to make it appear that these documents were accurate, truthful, and

supported by objective evidence when they were not. The Manufacturer Defendants distorted the

meaning or import of studies they cited and offered them as evidence for propositions the studies

did not support. The Manufacturer Defendants invented “pseudoaddiction” and promoted it to an

unsuspecting medical community. The Manufacturer Defendants provided the medical

community with false and misleading information about ineffectual strategies to avoid or control

opioid addiction. The Manufacturer Defendants recommended to the medical community that

dosages be increased, without disclosing the risks. The Manufacturer Defendants spent millions

of dollars over a period of years on a misinformation campaign aimed at highlighting opioids’

alleged benefits, disguising the risks, and promoting sales. The lack of support for the

Manufacturer Defendants’ deceptive messages was not apparent to medical professionals who

relied upon them in making treatment decisions, nor could it have been detected by the Plaintiff

or Plaintiff’s Community. Thus, the Manufacturer Defendants successfully concealed from the

medical community, patients, and health care payors facts sufficient to arouse suspicion of the

claims that the Plaintiff now asserts. Plaintiff did not know of the existence or scope of the




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Manufacturer Defendants’ industry-wide fraud and could not have acquired such knowledge

earlier through the exercise of reasonable diligence.

       C. THE DISTRIBUTOR DEFENDANTS’ UNLAWFUL DISTRIBUTION OF
          OPIOIDS.

       156.    The Distributor Defendants owe a duty under both federal law (21 U.S.C. § 823,

21 C.F.R. 1301.74) and Mississippi law (see e.g. MISS. ADMIN. CODE 30-20-3001:XXXII(10)(J))

to monitor, detect, investigate, refuse to fill, and report suspicious orders of prescription opioids

originating from Plaintiff’s Community as well as those orders which the Distributor Defendants

knew or should have known were likely to be diverted into Plaintiff’s Community.

       157.    The foreseeable harm from a breach of these duties is the diversion of prescription

opioids for nonmedical purposes.

       158.    Each Distributor Defendant repeatedly and purposefully breached its duties under

state and federal law. Such breaches are a direct and proximate causes of the widespread

diversion of prescription opioids for nonmedical purposes into Plaintiff’s Community.

       159.    The unlawful diversion of prescription opioids is a direct and proximate cause

and/or substantial contributing factor to of the opioid epidemic, prescription opioid abuse,

addiction, morbidity, and mortality in the State and in Plaintiff’s Community. This diversion and

the epidemic are direct causes of harms for which Plaintiff seeks to recover here.

       160.    The opioid epidemic in the State, including inter alia in Plaintiff’s Community,

remains an immediate hazard to public health and safety.

       161.    The opioid epidemic in Plaintiff’s Community is a temporary and continuous

public nuisance and remains unabated.

       162.    The Distributor Defendants’ intentionally continued their conduct, as alleged

herein, with knowledge that such conduct was creating the opioid nuisance and causing the

harms and damages alleged herein.


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              1. Wholesale Drug Distributors Have a Duty under State and Federal Law to
                 Guard Against, and Report, Unlawful Diversion and to Report and Prevent
                 Suspicious Orders.

       163.     As under federal law, opioids are a Schedule II controlled substance under

Mississippi law. See Miss. Code Ann. § 41-29-115. Opioids are categorized as “Schedule II”

drugs because they have a “high potential for abuse” and the potential to cause “severe psychic

or physical dependence” and/or “severe psychological . . . dependence.” 21 U.S.C. §

812(b)(2)(A, C).

       164.    As wholesale drug distributors, each Defendant was required under Mississippi

law to first be licensed by the Mississippi State Board of Pharmacy. MISS. CODE ANN. § 41-29-

125; MISS. ADMIN. CODE 30-20-3001:XXXII. To receive and maintain this license, each of the

Defendant Wholesale Distributors assumed a duty to comply with “all applicable local, state and

federal laws and regulations” and “all applicable state and federal DEA regulations.” MISS.

ADMIN. CODE 30-20-3001:XXXII(10)(J).

       165.    The Mississippi State Board of Pharmacy has the authority to “suspend, revoke,

or restrict and permit” licenses issued to Wholesale Distributors who violate “federal, state, or

local drug laws or regulations.” MISS. ADMIN. CODE 30-20-3001:XXXII(10)(J)(5).

       166.    Each Distributor Defendant was further required to register with the DEA,

pursuant to the federal Controlled Substance Act. See 21 U.S.C. § 823(b), (e); 28 C.F.R. §

0.100. Each Distributor Defendant is a “registrant” as a wholesale distributor in the chain of

distribution of Schedule II controlled substances with a duty to comply with all security

requirements imposed under that statutory scheme.

       167.    Each Distributor Defendant has an affirmative duty under federal and Mississippi

law to act as a gatekeeper guarding against the diversion of the highly addictive, dangerous

opioid drugs. Federal law requires that Distributors of Schedule II drugs, including opioids, must

maintain “effective control against diversion of particular controlled substances into other than

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legitimate medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(b)(1). Those

requirements are adopted and incorporated into Mississippi law. See MISS. ADMIN. CODE 30-20-

3001:XXXII(10)(J).

       168.    Federal regulations, incorporated by Mississippi law impose a non-delegable duty

upon wholesale drug distributors to “design and operate a system to disclose to the registrant

suspicious orders of controlled substances. The registrant [distributor] shall inform the Field

Division Office of the Administration in his area of suspicious orders when discovered by the

registrant. Suspicious orders include orders of unusual size, orders deviating substantially from a

normal pattern, and orders of unusual frequency.” 21 C.F.R. § 1301.74(b); MISS. ADMIN. CODE

30-20-3001:XXXII(10)(J).

       169.    “Suspicious orders” include orders of an unusual size, orders of unusual

frequency or orders deviating substantially from a normal pattern. See 21 C.F.R. § 1301.74(b).

These criteria are disjunctive and are not all inclusive. For example, if an order deviates

substantially from a normal pattern, the size of the order does not matter and the order should be

reported as suspicious. Likewise, a wholesale distributor need not wait for a normal pattern to

develop over time before determining whether a particular order is suspicious. The size of an

order alone, regardless of whether it deviates from a normal pattern, is enough to trigger the

wholesale distributor’s responsibility to report the order as suspicious. The determination of

whether an order is suspicious depends not only on the ordering patterns of the particular

customer but also on the patterns of the entirety of the wholesale distributor’s customer base and

the patterns throughout the relevant segment of the wholesale distributor industry.

       170.    In addition to reporting all suspicious orders, distributors also must stop shipment

on any order which is flagged as suspicious and only ship orders which were flagged as

potentially suspicious if, after conducting due diligence, the distributor can determine that the



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order is not likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg.

36,487, 36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug

Enforcement Administration, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, all flagged

orders must be reported. Id.

          171.    These prescription drugs are regulated for the purpose of providing a “closed”

system intended to reduce the widespread diversion of these drugs out of legitimate

channels into the illicit market, while at the same time providing the legitimate drug industry

with a unified approach to narcotic and dangerous drug control.92

          172.    Different entities supervise the discrete links in the chain that separate a consumer

from a controlled substance. Statutes and regulations define each participant’s role and

responsibilities.93

          173.    As the DEA advised the Distributor Defendants in a letter to them dated

September 27, 2006, wholesale distributors are “one of the key components of the distribution

chain. If the closed system is to function properly … distributors must be vigilant in deciding

whether a prospective customer can be trusted to deliver controlled substances only for lawful

purposes. This responsibility is critical, as … the illegal distribution of controlled substances has

a substantial and detrimental effect on the health and general welfare of the American people.”94


92
     See 1970 U.S.C.C.A.N. 4566, 4571-72.
93
   Brief for Healthcare Distribution Management Association and National Association of Chain Drug Stores as
Amici Curiae in Support of Neither Party, Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C. Cir.
Apr. 4, 2016), 2016 WL 1321983, at *22 [hereinafter Brief for HDMA and NACDS]. The Healthcare Distribution
Management Association (HDMA or HMA)—now known as the Healthcare Distribution Alliance (HDA)—is a
national, not-for-profit trade association that represents the nation’s primary, full-service healthcare distributors
whose membership includes, among others: AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and
McKesson Corporation. See generally HDA, About, https://www.healthcaredistribution.org/about (last visited Aug.
21, 2017). The National Association of Chain Drug Stores (NACDS) is a national, not-for-profit trade association
that represents traditional drug stores and supermarkets and mass merchants with pharmacies whose membership
includes, among others: Walgreen Company, CVS Health, Rite Aid Corporation and Walmart. See generally
NACDS, Mission, https://www.nacds.org/ about/mission/ (last visited Aug. 21, 2017).
94
   See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t Admin.,
U.S. Dep’t of Justice, to Cardinal Health (Sept. 27, 2006) [hereinafter Rannazzisi Letter] (“This letter is being sent
to every commercial entity in the United States registered with the Drug Enforcement Agency (DEA) to distribute

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             174.    The Distributor Defendants have admitted that they are responsible for reporting

suspicious orders.95

             175.    The DEA sent a letter to each of the Distributor Defendants on September 27,

2006, warning that it would use its authority to revoke and suspend registrations when

appropriate. The letter expressly states that a distributor, in addition to reporting suspicious

orders, has a “statutory responsibility to exercise due diligence to avoid filling suspicious orders

that might be diverted into other than legitimate medical, scientific, and industrial channels.”96

The letter also instructs that “distributors must be vigilant in deciding whether a prospective

customer can be trusted to deliver controlled substances only for lawful purposes.” 97 The DEA

warns that “even just one distributor that uses its DEA registration to facilitate diversion can

cause enormous harm.”98

             176.    The DEA sent a second letter to each of the Distributor Defendants on December

27, 2007.99 This letter reminds the Defendants of their statutory and regulatory duties to

“maintain effective controls against diversion” and “design and operate a system to disclose to

the registrant suspicious orders of controlled substances.”100 The letter further explains:

             The regulation also requires that the registrant inform the local DEA Division
             Office of suspicious orders when discovered by the registrant. Filing a monthly
             report of completed transactions (e.g., “excessive purchase report” or “high unity
             purchases”) does not meet the regulatory requirement to report suspicious orders.

controlled substances. The purpose of this letter is to reiterate the responsibilities of controlled substance
distributors in view of the prescription drug abuse problem our nation currently faces.”), filed in Cardinal Health,
Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-51.
95
  See Brief for HDMA and NACDS, 2016 WL 1321983, at *4 (“[R]egulations . . . in place for more than 40 years
require distributors to report suspicious orders of controlled substances to DEA based on information readily
available to them (e.g., a pharmacy’s placement of unusually frequent or large orders).”).
96
      Rannazzisi Letter, at 2.
97
      Id. at 1.
98
     Id. at 2.
99
  See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t Admin.,
U.S. Dep’t of Justice, to Cardinal Health (Dec. 27, 2007), filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-
00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-8.
100
      Id.


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            Registrants are reminded that their responsibility does not end merely with the
            filing of a suspicious order report. Registrants must conduct an independent
            analysis of suspicious orders prior to completing a sale to determine whether the
            controlled substances are likely to be diverted from legitimate channels.
            Reporting an order as suspicious will not absolve the registrant of responsibility if
            the registrant knew, or should have known, that the controlled substances were
            being diverted.

            The regulation specifically states that suspicious orders include orders of unusual
            size, orders deviating substantially from a normal pattern, and orders of an
            unusual frequency. These criteria are disjunctive and are not all inclusive. For
            example, if an order deviates substantially from a normal pattern, the size of the
            order does not matter and the order should be reported as suspicious. Likewise, a
            registrant need not wait for a “normal pattern” to develop over time before
            determining whether a particular order is suspicious. The size of an order alone,
            whether or not it deviates from a normal pattern, is enough to trigger the
            registrant’s responsibility to report the order as suspicious. The determination of
            whether an order is suspicious depends not only on the ordering patterns of the
            particular customer, but also on the patterns of the registrant’s customer base and
            the patterns throughout the segment of the regulated industry.

            Registrants that rely on rigid formulas to define whether an order is suspicious
            may be failing to detect suspicious orders. For example, a system that identifies
            orders as suspicious only if the total amount of a controlled substance ordered
            during one month exceeds the amount ordered the previous month by a certain
            percentage or more is insufficient. This system fails to identify orders placed by a
            pharmacy if the pharmacy placed unusually large orders from the beginning of its
            relationship with the distributor. Also, this system would not identify orders as
            suspicious if the order were solely for one highly abused controlled substance if
            the orders never grew substantially. Nevertheless, ordering one highly abused
            controlled substance and little or nothing else deviates from the normal pattern of
            what pharmacies generally order.

            When reporting an order as suspicious, registrants must be clear in their
            communication with DEA that the registrant is actually characterizing an order as
            suspicious. Daily, weekly, or monthly reports submitted by registrant indicating
            “excessive purchases” do not comply with the requirement to report suspicious
            orders, even if the registrant calls such reports “suspicious order reports.”

            Lastly, registrants that routinely report suspicious orders, yet fill these orders
            without first determining that order is not being diverted into other than legitimate
            medical, scientific, and industrial channels, may be failing to maintain effective
            controls against diversion. Failure to maintain effective controls against diversion
            is inconsistent with the public interest, as that term is used in 21 USC 823 and
            824, and may result in the revocation of the registrant’s DEA Certificate of
            Registration.101


101
      Id.


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Finally, the DEA letter references the Revocation of Registration issued in Southwood

Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the obligation to

report suspicious orders and “some criteria to use when determining whether an order is

suspicious.”102

            177.   The Distributor Defendants admit that they “have not only statutory and

regulatory responsibilities to detect and prevent diversion of controlled prescription drugs, but

undertake such efforts as responsible members of society.”103

            178.   The Distributor Defendants knew they were required to monitor, detect, and halt

suspicious orders. Industry compliance guidelines established by the Healthcare Distribution

Management Association, the trade association of pharmaceutical distributors, explain that

distributors are “[a]t the center of a sophisticated supply chain” and therefore “are uniquely

situated to perform due diligence in order to help support the security of the controlled

substances they deliver to their customers.” The guidelines set forth recommended steps in the

“due diligence” process, and note in particular: If an order meets or exceeds a distributor’s

threshold, as defined in the distributor’s monitoring system, or is otherwise characterized by the

distributor as an order of interest, the distributor should not ship to the customer, in fulfillment of

that order, any units of the specific drug code product as to which the order met or exceeded a

threshold or as to which the order was otherwise characterized as an order of interest.104

            179.   Each of the Distributor Defendants sold prescription opioids, including

hydrocodone and/or oxycodone, to retailers in Plaintiff’s Community and/or to retailers from

which Defendants knew prescription opioids were likely to be diverted to Plaintiff’s Community.

102
      Id.
103
      See Brief of HDMA, 2012 WL 1637016, at *2.
104
    Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines: Reporting
Suspicious Orders and Preventing Diversion of Controlled Substances, filed in Cardinal Health, Inc. v. Holder, No.
12-5061 (D.C. Cir. Mar. 7, 2012), Doc. No. 1362415 (App’x B).



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        180.    Each Distributor Defendant owes a duty to monitor and detect suspicious orders

of prescription opioids.

        181.    Each Distributor Defendant owes a duty under federal and state law to investigate

and refuse suspicious orders of prescription opioids.

        182.    Each Distributor Defendant owes a duty under federal and state law to report

suspicious orders of prescription opioids.

        183.    Each Distributor Defendant owes a duty under federal and state law to prevent the

diversion of prescription opioids into illicit markets in the State and Plaintiff’s Community.

        184.    The foreseeable harm resulting from a breach of these duties is the diversion of

prescription opioids for nonmedical purposes and subsequent plague of opioid addiction.

        185.    The foreseeable harm resulting from the diversion of prescription opioids for

nonmedical purposes is abuse, addiction, morbidity and mortality in Plaintiff’s Community and

the damages caused thereby.

               2. The Distributor Defendants Breached Their Duties.

        186.    Because distributors handle such large volumes of controlled substances and are

the first major line of defense in the movement of legal pharmaceutical controlled substances

from legitimate channels into the illicit market, it is incumbent on distributors to maintain

effective controls to prevent diversion of controlled substances. Should a distributor deviate from

these checks and balances, the closed system collapses.105

        187.    The sheer volume of prescription opioids distributed to pharmacies in the

Plaintiff’s Community, and/or to pharmacies from which the Distributor Defendants knew the

opioids were likely to be diverted into Plaintiff’s Community, is excessive for the medical need

of the community and facially suspicious. Some red flags are so obvious that no one who

105
   See Rannazzisi Decl. ¶ 10, filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10,
2012), ECF No. 14-2.


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engages in the legitimate distribution of controlled substances can reasonably claim ignorance of

them.106

        188.    The Distributor Defendants failed to report “suspicious orders” originating from

Plaintiff’s Community, or which the Distributor Defendants knew were likely to be diverted to

Plaintiff’s Community, to the federal and state authorities, including the DEA and/or the state

Board of Pharmacy.

        189.    The Distributor Defendants unlawfully filled suspicious orders of unusual size,

orders deviating substantially from a normal pattern and/or orders of unusual frequency in

Plaintiff’s Community, and/or in areas from which the Distributor Defendants knew opioids

were likely to be diverted to Plaintiff’s Community.

        190.    The Distributor Defendants breached their duty to monitor, detect, investigate,

refuse, and report suspicious orders of prescription opiates originating from Plaintiff’s

Community, and/or in areas from which the Distributor Defendants knew opioids were likely to

be diverted to Plaintiff’s Community.

        191.    The Distributor Defendants breached their duty to maintain effective controls

against diversion of prescription opiates into other than legitimate medical, scientific, and

industrial channels.

        192.    The Distributor Defendants breached their duty to “design and operate a system to

disclose to the registrant suspicious orders of controlled substances” and failed to inform the

authorities including the DEA of suspicious orders when discovered, in violation of their duties

under federal and state law.




106
   Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015) (citing Holiday CVS, L.L.C.,
d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,316, 62,322 (2012)).


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           193.     The Distributor Defendants breached their duty to exercise due diligence to avoid

filling suspicious orders that might be diverted into channels other than legitimate medical,

scientific, and industrial channels.107

           194.     The federal and state laws at issue here are public safety laws.

           195.     The Distributor Defendants’ violations of public safety statutes constitute prima

facie evidence of negligence under State law.

           196.     The Distributor Defendants supplied prescription opioids to obviously suspicious

physicians and pharmacies, enabled the illegal diversion of opioids, aided criminal activity, and

disseminated massive quantities of prescription opioids into the black market.

           197.     The unlawful conduct by the Distributor Defendants is purposeful and intentional.

The Distributor Defendants refuse to abide by the duties imposed by federal and state law which

are required to legally acquire and maintain a license to distribute prescription opiates.

           198.     The Distributor Defendants acted with actual malice in breaching their duties, i.e.,

they have acted with a conscious disregard for the rights and safety of other persons, and said

actions have a great probability of causing substantial harm.

           199.     The Distributor Defendants’ repeated shipments of suspicious orders, over an

extended period of time, in violation of public safety statutes, and without reporting the

suspicious orders to the relevant authorities demonstrates wanton, willful, or reckless conduct or

criminal indifference to civil obligations affecting the rights of others and justifies an award of

punitive damages.

                  3. The Distributor Defendants Have Sought to Avoid and Have Misrepresented
                     Their Compliance with Their Legal Duties.

           200.     The Distributor Defendants have repeatedly misrepresented their compliance with

their legal duties under state and federal law and have wrongfully and repeatedly disavowed

107
      See Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).



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those duties in an effort to mislead regulators and the public regarding the Distributor

Defendants’ compliance with their legal duties.

            201.     Distributor Defendants have refused to recognize any duty beyond reporting

suspicious orders. In Masters Pharmaceuticals, the HDMA, a trade association run the

Distributor Defendants, and the NACDS submitted amicus briefs regarding the legal duty of

wholesale distributors. Inaccurately denying the legal duties that the wholesale drug industry has

been tragically recalcitrant in performing, they argued as follows:

                         a. The Associations complained that the “DEA has required
                            distributors not only to report suspicious orders, but to investigate
                            orders (e.g., by interrogating pharmacies and physicians) and take
                            action to halt suspicious orders before they are filled.”108

                         b. The Associations argued that, “DEA now appears to have changed
                            its position to require that distributors not only report suspicious
                            orders, but investigate and halt suspicious orders. Such a change
                            in agency position must be accompanied by an acknowledgment of
                            the change and a reasoned explanation for it. In other words, an
                            agency must display awareness that it is changing position and
                            show that there are good reasons for the new policy. This is
                            especially important here, because imposing intrusive obligation
                            on distributors threatens to disrupt patient access to needed
                            prescription medications.”109

                         c. The Associations alleged (inaccurately) that nothing “requires
                            distributors to investigate the legitimacy of orders, or to halt
                            shipment of any orders deemed to be suspicious.”110

                         d. The Association complained that the purported “practical
                            infeasibility of requiring distributors to investigate and halt
                            suspicious orders (as well as report them) underscores the
                            importance of ensuring that DEA has complied with the APA
                            before attempting to impose such duties.”111

                         e. The Associations alleged (inaccurately) that “DEA’s regulations []
                            sensibly impose[] a duty on distributors simply to report

108
      Brief for HDMA and NACDS, 2016 WL 1321983, at *4–5.
109
      Id. at *8 (citations and quotation marks omitted).
110
      Id. at *14.
111
      Id. at *22.


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                              suspicious orders, but left it to DEA and its agents to investigate
                              and halt suspicious orders.”112

                          f. Also inaccurately, the Associations argued that, “[i]mposing a duty
                             on distributors – which lack the patient information and the
                             necessary medical expertise – to investigate and halt orders may
                             force distributors to take a shot-in-the-dark approach to complying
                             with DEA’s demands.”113

            202.       The positions taken by the trade groups is emblematic of the position taken by the

Distributor Defendants in a futile attempt to deny their legal obligations to prevent diversion of

the dangerous drugs.114

            203.       The Court of Appeals for the District of Columbia recently issued its opinion

affirming that a wholesale drug distributor does, in fact, have duties beyond reporting. Masters

Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C. Cir. 2017). The D.C. Circuit Court

upheld the revocation of Master Pharmaceutical’s license and determined that DEA regulations

require that in addition to reporting suspicious orders, distributors must “decline to ship the

order, or conduct some ‘due diligence’ and—if it is able to determine that the order is not likely

to be diverted into illegal channels—ship the order.” Id. at 212. Master Pharmaceutical was in

violation of legal requirements because it failed to conduct necessary investigations and filled

suspicious orders. Id. at 218–19, 226. A distributor’s investigation must dispel all the red flags

giving rise to suspicious circumstance prior to shipping a suspicious order. Id. at 226. The Circuit

Court also rejected the argument made by the HDMA and NACDS (quoted above), that,

allegedly, the DEA had created or imposed new duties. Id. at 220.

            204.       Wholesale Distributor McKesson has recently been forced to admit specifically to

breaches of its duties to monitor, report, and prevent suspicious orders. Pursuant to an

112
      Id. at *24–25.
113
      Id. at 26.
114
    See Brief of HDMA, 2012 WL 1637016, at *3 (arguing the wholesale distributor industry “does not know the
rules of the road because” they claim (inaccurately) that the “DEA has not adequately explained them”).



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Administrative Memorandum of Agreement (“2017 Agreement”) entered into between

McKesson and the DEA in January 2017, McKesson admitted that, at various times during the

period from January 1, 2009 through the effective date of the Agreement (January 17, 2017) it

“did not identify or report to [the] DEA certain orders placed by certain pharmacies which

should have been detected by McKesson as suspicious based on the guidance contained in the

DEA Letters.”115 Further, the 2017 Agreement specifically finds that McKesson “distributed

controlled substances to pharmacies even though those McKesson Distribution Centers should

have known that the pharmacists practicing within those pharmacies had failed to fulfill their

corresponding responsibility to ensure that controlled substances were dispensed pursuant to

prescriptions issued for legitimate medical purposes by practitioners acting in the usual course of

their professional practice, as required by 21 C.F.R § 1306.04(a).”116 McKesson admitted that,

during this time period, it “failed to maintain effective controls against diversion of particular

controlled substances into other than legitimate medical, scientific and industrial channels by

sales to certain of its customers in violation of the CSA and the CSA’s implementing regulations,

21 C.F.R. Part 1300 et seq., at the McKesson Distribution Centers,” including the McKesson

Distribution Center located in “Washington Courthouse, Ohio.”117 Due to these violations,

McKesson agreed that its authority to distribute controlled substances from the Washington

Courthouse, Ohio facility (among other facilities) would be partially suspended.118

             205.   The 2017 Agreement followed a 2008 Settlement Agreement in which McKesson

also admitted failure to report suspicious orders of controlled substances to the DEA.119 In the


115
   See Administrative Memorandum of Agreement between the U.S. Dep’t of Justice, the Drug Enf’t Admin., and
the McKesson Corp. (Jan. 17, 2017), https://www.justice.gov/opa/press-release/file/928476/download.
116
      Id. at 4.
117
      Id.
118
      Id. at 6.
119
      Id. at 4.


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2008 Settlement Agreement, McKesson “recognized that it had a duty to monitor its sales of all

controlled substances and report suspicious orders to DEA,” but had failed to do so.120 The 2017

Agreement documents that McKesson continued to breach its admitted duties by “fail[ing] to

properly monitor its sales of controlled substances and/or report suspicious orders to DEA, in

accordance with McKesson’s obligations.”121 As a result of these violations, McKesson was

fined and required to pay to the United States $150,000,000.122

             206.   Even though McKesson had been sanctioned in 2008 for failure to comply with

its legal obligations regarding controlling diversion and reporting suspicious orders, and even

though McKesson had specifically agreed in 2008 that it would no longer violate those

obligations, McKesson continued to violate the laws in contrast to its written agreement not to do

so.

             207.   Because of the Distributor Defendants’ refusal to abide by their legal obligations,

the DEA has repeatedly taken administrative action to attempt to force compliance. For example,

in May 2014, the United States Department of Justice, Office of the Inspector General,

Evaluation and Inspections Divisions reported that the DEA issued final decisions in 178

registrant actions between 2008 and 2012.123 The Office of Administrative Law Judges issued a

recommended decision in a total of 117 registrant actions before the DEA issued its final




120
      Id.
121
    Id.; see also Settlement Agreement and Release between the U.S. and McKesson Corp., at 5 (Jan. 17, 2017)
[hereinafter 2017 Settlement Agreement and Release] (“McKesson acknowledges that, at various times during the
Covered Time Period [2009-2017], it did not identify or report to DEA certain orders placed by certain pharmacies,
which should have been detected by McKesson as suspicious, in a manner fully consistent with the requirements set
forth in the 2008 MOA.”), https://www.justice.gov/opa/press-release/file/928471/download.
122
      See 2017 Settlement Agreement and Release, at 6.
  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
123

Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.


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decision, including 76 actions involving orders to show cause and 41 actions involving

immediate suspension orders.124 These actions include the following:

             a. On April 24, 2007, the DEA issued an Order to Show Cause and
                Immediate Suspension Order against the AmerisourceBergen Orlando,
                Florida distribution center (“Orlando Facility”) alleging failure to maintain
                effective controls against diversion of controlled substances. On June 22,
                2007, AmerisourceBergen entered into a settlement that resulted in the
                suspension of its DEA registration;

             b. On November 28, 2007, the DEA issued an Order to Show Cause and
                Immediate Suspension Order against the Cardinal Health Auburn,
                Washington Distribution Center (“Auburn Facility”) for failure to
                maintain effective controls against diversion of hydrocodone;

             c. On December 5, 2007, the DEA issued an Order to Show Cause and
                Immediate Suspension Order against the Cardinal Health Lakeland,
                Florida Distribution Center (“Lakeland Facility”) for failure to maintain
                effective controls against diversion of hydrocodone;

             d. On December 7, 2007, the DEA issued an Order to Show Cause and
                Immediate Suspension Order against the Cardinal Health Swedesboro,
                New Jersey Distribution Center (“Swedesboro Facility”) for failure to
                maintain effective controls against diversion of hydrocodone;

             e. On January 30, 2008, the DEA issued an Order to Show Cause and
                Immediate Suspension Order against the Cardinal Health Stafford, Texas
                Distribution Center (“Stafford Facility”) for failure to maintain effective
                controls against diversion of hydrocodone;

             f. On May 2, 2008, McKesson Corporation entered into an Administrative
                Memorandum of Agreement (“2008 MOA”) with the DEA which provided
                that McKesson would “maintain a compliance program designed to detect
                and prevent the diversion of controlled substances, inform DEA of
                suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the
                procedures established by its Controlled Substance Monitoring Program”;

             g. On September 30, 2008, Cardinal Health entered into a Settlement and
                Release Agreement and Administrative Memorandum of Agreement with
                the DEA related to its Auburn Facility, Lakeland Facility, Swedesboro
                Facility and Stafford Facility. The document also referenced allegations by

124
      Id.



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                 the DEA that Cardinal failed to maintain effective controls against the
                 diversion of controlled substances at its distribution facilities located in
                 McDonough, Georgia (“McDonough Facility”), Valencia, California
                 (“Valencia Facility”) and Denver, Colorado (“Denver Facility”);

            h. On February 2, 2012, the DEA issued an Order to Show Cause and
               Immediate Suspension Order against the Lakeland Facility for failure to
               maintain effective controls against diversion of oxycodone;

            i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine
               to the DEA to resolve the civil penalty portion of the administrative action
               taken against the Lakeland Facility; and

            j. On January 5, 2017, McKesson Corporation entered into an
               Administrative Memorandum Agreement with the DEA wherein it agreed
               to pay a $150 million civil penalty for violation of the 2008 MOA as well
               as failure to identify and report suspicious orders at its facilities in Aurora,
               CO; Aurora, IL; Delran, NJ; LaCrosse, WI; Lakeland, FL; Landover, MD;
               La Vista, NE; Livonia, MI; Methuen, MA; Santa Fe Springs, CA;
               Washington Courthouse, OH; and West Sacramento, CA.

        208.     Rather than abide by their non-delegable duties under public safety laws, the

Distributor Defendants, individually and collectively through trade groups in the industry,

pressured the U.S. Department of Justice to “halt” prosecutions and lobbied Congress to strip the

DEA of its ability to immediately suspend distributor registrations. The result was a “sharp drop

in enforcement actions” and the passage of the “Ensuring Patient Access and Effective Drug

Enforcement Act” which, ironically, raised the burden for the DEA to revoke a distributor’s

license from “imminent harm” to “immediate harm” and provided the industry the right to “cure”

any violations of law before a suspension order can be issued.125


125
   See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic
Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA      Enforcement     Slowdown      Amid      Opioid      Crisis,    Wash.       Post,    Mar.    6,   2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had No
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.



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        209.     In addition to taking actions to limit regulatory prosecutions and suspensions, the

Distributor Defendants undertook to fraudulently convince the public that they were complying

with their legal obligations, including those imposed by licensing regulations. Through such

statements, the Distributor Defendants attempted to assure the public they were working to curb

the opioid epidemic.

        210.     For example, a Cardinal Health executive claimed that it uses “advanced

analytics” to monitor its supply chain, and represented that it was being “as effective and

efficient as possible in constantly monitoring, identifying, and eliminating any outside criminal

activity.”126 Given the sales volumes and the company’s history of violations, this executive was

either not telling the truth, or, if Cardinal Health had such a system, it ignored the results.

        211.     Similarly, Defendant McKesson publicly stated that it has a “best-in-class

controlled substance monitoring program to help identify suspicious orders,” and claimed it is

“deeply passionate about curbing the opioid epidemic in our country.”127 Again, given

McKesson’s historical conduct, this statement is either false, or the company ignored outputs of

the monitoring program.

        212.     By misleading the public about the effectiveness of their controlled substance

monitoring programs, the Distributor Defendants successfully concealed the facts sufficient to

arouse suspicion of the claims that the Plaintiff now asserts. The Plaintiff did not know of the

existence or scope of Defendants’ industry-wide fraud and could not have acquired such

knowledge earlier through the exercise of reasonable diligence.



126
   Lenny Bernstein et al., How Drugs Intended for Patients Ended Up in the Hands of Illegal Users: “No One Was
Doing Their Job,” Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/how-drugs-intended-
for-patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-
8ff7-7b6c1998b7a0_story.html.
127
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.


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       213.    Meanwhile, the opioid epidemic rages unabated in the Nation, the State, and in

Plaintiff’s Community.

       214.    The epidemic still rages because the fines and suspensions imposed by the DEA

do not change the conduct of the industry. The distributors, including the Distributor Defendants,

pay fines as a cost of doing business in an industry that generates billions of dollars in annual

revenue. They hold multiple DEA registration numbers and when one facility is suspended, they

simply ship from another facility.

       215.    The Distributor Defendants have abandoned their duties imposed under federal

and state law, taken advantage of a lack of DEA law enforcement, and abused the privilege of

distributing controlled substances in the State and Plaintiff’s Community.

       D. THE MANUFACTURER DEFENDANTS’ UNLAWFUL FAILURE TO
          PREVENT DIVERSION AND MONITOR, REPORT, AND PREVENT
          SUSPICIOUS ORDERS.

       216.    The same legal duties to prevent diversion, and to monitor, report, and prevent

suspicious orders of prescription opioids that were incumbent upon the Distributor Defendants

also were legally required of the Manufacturer Defendants under federal and Mississippi law.

       217.    The Manufacturing Defendants were required to comply with the same licensing

and permitting requirements as the Distributor Defendants. See MISS. ADMIN. CODE 30-20-

3001(1). (“Every facility/business that shall engage in the wholesale distribution of prescription

drugs, to include without limitation, manufacturing in this state, distribution into this state, or

selling or offering to sell in this state, or distribution from or within this state, shall register

annually with the Mississippi Board of Pharmacy); MISS. ADMIN. CODE 30-20-3001(10)(J)

(“Each entity shall comply with all applicable local, state and federal laws and regulations.”).

       218.     Like the Distributor Defendants, the Manufacturer Defendants were required to

register with the DEA to manufacture schedule II controlled substances, like prescription

opioids. See 21 U.S.C. § 823(a). A requirement of such registration is the:

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       maintenance of effective controls against diversion of particular controlled
       substances and any controlled substance in schedule I or II compounded
       therefrom into other than legitimate medical, scientific, research, or industrial
       channels, by limiting the importation and bulk manufacture of such controlled
       substances to a number of establishments which can produce an adequate and
       uninterrupted supply of these substances under adequately competitive
       conditions for legitimate medical, scientific, research, and industrial purposes . .
       ..

21 USCA § 823(a)(1) (emphasis added).

       219.    Additionally, as “registrants” under Section 823, the Manufacturer Defendants

were also required to monitor, report, and prevent suspicious orders of controlled substances:

       The registrant shall design and operate a system to disclose to the registrant
       suspicious orders of controlled substances. The registrant shall inform the Field
       Division Office of the Administration in his area of suspicious orders when
       discovered by the registrant. Suspicious orders include orders of unusual size,
       orders deviating substantially from a normal pattern, and orders of unusual
       frequency.

21 C.F.R. § 1301.74. See also 21 C.F.R. § 1301.02 (“Any term used in this part shall have the

definition set forth in section 102 of the Act (21 U.S.C. 802) or part 1300 of this chapter.”); 21

C.F.R. § 1300.01 (“Registrant means any person who is registered pursuant to either section 303

or section 1008 of the Act (21 U.S.C. 823 or 958).” Like the Distributor Defendants, the

Manufacturer Defendants breached these duties.

       220.    The Manufacturer Defendants had access to and possession of the information

necessary to monitor, report, and prevent suspicious orders and to prevent diversion. The

Manufacturer Defendants engaged in the practice of paying “chargebacks” to opioid distributors.

A chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

manufacturer’s product at a price below a specified rate. After a distributor sells a

manufacturer’s product to a pharmacy, for example, the distributor requests a chargeback from

the manufacturer and, in exchange for the payment, the distributor identifies to the manufacturer

the product, volume and the pharmacy to which it sold the product. Thus, the Manufacturer



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Defendants knew – just as the Distributor Defendants knew – the volume, frequency, and pattern

of opioid orders being placed and filled. The Manufacturer Defendants built receipt of this

information into the payment structure for the opioids provided to the opioid distributors.

             221.   Federal statutes and regulations – and Mississippi law incorporating those

requirements - are clear: just like opioid distributors, opioid manufacturers are required to

“design and operate a system to disclose . . . suspicious orders of controlled substances” and to

maintain “effective controls against diversion.” 21 C.F.R. § 1301.74; 21 USCA § 823(a)(1).

             222.   The Department of Justice has recently confirmed the suspicious order obligations

clearly imposed by federal law upon opioid manufacturers, fining Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements.128

             223.   In the press release accompanying the settlement, the Department of Justice

stated: Mallinckrodt did not meet its obligations to detect and notify DEA of suspicious orders of

controlled substances such as oxycodone, the abuse of which is part of the current opioid

epidemic. These suspicious order monitoring requirements exist to prevent excessive sales of

controlled substances, like oxycodone . . . . Mallinckrodt’s actions and omissions formed a link

in the chain of supply that resulted in millions of oxycodone pills being sold on the street. . . .

“Manufacturers and distributors have a crucial responsibility to ensure that controlled substances

do not get into the wrong hands. . . .”129

             224.   The settlement resolved, inter alia, the government’s allegations that

“Mallinckrodt failed to design and implement an effective system to detect and report



128
   See Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement for Failure
to Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July 11, 2017),
https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-
orders
129
      Id.


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‘suspicious orders’ for controlled substances – orders that are unusual in their frequency, size, or

other patterns . . . [and] Mallinckrodt supplied distributors, and the distributors then supplied

various U.S. pharmacies and pain clinics, an increasingly excessive quantity of oxycodone pills

without notifying DEA of these suspicious orders.”130

             225.   The Memorandum of Agreement Mallinckrodt entered into (“2017 Mallinckrodt

MOA”) avers “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to maintain

effective controls against diversion, including a requirement that it review and monitor these

sales and report suspicious orders to DEA.”131

             226.   The 2017 Mallinckrodt MOA further details the DEA’s allegations regarding

Mallinckrodt’s failures to fulfill its legal duties as an opioid manufacturer:

             With respect to its distribution of oxycodone and hydrocodone products,
             Mallinckrodt’s alleged failure to distribute these controlled substances in a
             manner authorized by its registration and Mallinckrodt’s alleged failure to
             operate an effective suspicious order monitoring system and to report suspicious
             orders to the DEA when discovered as required by and in violation of 21 C.F.R.
             § 1301.74(b). The above includes, but is not limited to Mallinckrodt’s alleged
             failure to:
                           i. conduct adequate due diligence of its customers;
                          ii. detect and report to the DEA orders of unusual size and
                              frequency;
                         iii. detect and report to the DEA orders deviating substantially from
                              normal patterns including, but not limited to, those identified in
                              letters from the DEA Deputy Assistant Administrator, Office of
                              Diversion Control, to registrants dated September 27, 2006 and
                              December 27, 2007:
                                   1. orders that resulted in a disproportionate amount of a
                                       substance which is most often abused going to a
                                       particular geographic region where there was known
                                       diversion,
                                   2. orders that purchased a disproportionate amount of a
                                       substance which is most often abused compared to other
                                       products, and


130
      Id.
131
    Administrative Memorandum of Agreement between the United States Department of Justice, the Drug
Enforcement Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC (July 10, 2017),
https://www.justice.gov/usao-edmi/press-release/file/986026/download. (“2017 Mallinckrodt MOA”).


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                                3. orders from downstream customers to distributors who
                                   were purchasing from multiple different distributors, of
                                   which Mallinckrodt was aware;
                       iv. use “charge back” information from its distributors to evaluate
                           suspicious orders. Chargebacks include downstream purchasing
                           information tied to certain discounts, providing Mallinckrodt
                           with data on buying patterns for Mallinckrodt products; and
                        v. take sufficient action to prevent recurrence of diversion by
                           downstream customers after receiving concrete information of
                           diversion of Mallinckrodt product by those downstream
                           customers.132

            227.    Mallinckrodt agreed that its “system to monitor and detect suspicious orders did

not meet the standards outlined in letters from the DEA Deputy Administrator, Office of

Diversion Control, to registrants dated September 27, 2006 and December 27, 2007.”

Mallinckrodt further agreed that it “recognizes the importance of the prevention of diversion of

the controlled substances they manufacture” and would “design and operate a system that meets

the requirements of 21 CFR 1301.74(b) . . . [such that it would] utilize all available transaction

information to identify suspicious orders of any Mallinckrodt product. Further, Mallinckrodt

agrees to notify DEA of any diversion and/or suspicious circumstances involving any

Mallinckrodt controlled substances that Mallinckrodt discovers.”133

            228.    Mallinckrodt acknowledged that “[a]s part of their business model Mallinckrodt

collects transaction information, referred to as chargeback data, from their direct customers

(distributors). The transaction information contains data relating to the direct customer sales of

controlled substances to “downstream" registrants.” Mallinckrodt agreed that, from this data, it

would “report to the DEA when Mallinckrodt concludes that the chargeback data or other

information indicates that a downstream registrant poses a risk of diversion.”134




132
      2017 Mallinckrodt MOA at p. 2-3.
133
      Id. at 3-4.
134
      Id. at p.5.


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        229.   The same duties imposed by federal law on Mallinckrodt were imposed upon all

Manufacturer Defendants.

        230.   The same business practices utilized by Mallinckrodt regarding “chargebacks”

and receipt and review of data from opioid distributors regarding orders of opioids were utilized

industry-wide among opioid manufacturers and distributors, including, upon information and

belief, the other Manufacturer Defendants.

        231.   Through, inter alia, the chargeback data, the Manufacturer Defendants could

monitor suspicious orders of opioids.

        232.   The Manufacturer Defendants failed to monitor, report, and halt suspicious orders

of opioids as required by federal law.

        233.   The Manufacturer Defendants’ failures to monitor, report, and halt suspicious

orders of opioids were intentional and unlawful.

        234.   The Manufacturer Defendants have misrepresented their compliance with federal

law.

        235.   The Manufacturer Defendants enabled the supply of prescription opioids to

obviously suspicious physicians and pharmacies, enabled the illegal diversion of opioids, aided

criminal activity, and disseminated massive quantities of prescription opioids into the black

market.

        236.   The Manufacturer Defendants’ actions and omissions in failing to effectively

prevent diversion and failing to monitor, report, and prevent suspicious orders have enabled the

unlawful diversion of opioids into Plaintiff’s Community.

        E. DEFENDANTS’ UNLAWFUL CONDUCT AND BREACHES OF LEGAL
           DUTIES CAUSED THE HARM ALLEGED HEREIN AND SUBSTANTIAL
           DAMAGES.

        237.   As the Manufacturer Defendants’ efforts to expand the market for opioids have

increased, so have the rates of prescription and sale of their products — and the rates of opioid-

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related substance abuse, hospitalization, and death among the people of the State and the

Plaintiff’s Community. The Distributor Defendants have continued to unlawfully ship these

massive quantities of opioids into communities like the Plaintiff’s Community, fueling the

epidemic.

        238.     There is a “parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes.”135

        239.     Opioid analgesics are widely diverted and improperly used, and the widespread

use of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions.136

        240.     The epidemic is “directly related to the increasingly widespread misuse of

powerful opioid pain medications.”137

        241.     The increased abuse of prescription painkillers along with growing sales has

contributed to a large number of overdoses and deaths.138

        242.     As shown above, the opioid epidemic has escalated in Plaintiff’s Community with

devastating effects. Substantial opiate-related substance abuse, hospitalization and death that

mirrors the increased distribution of opiates.

        243.     Because of the well-established relationship between the use of prescription

opiates and the use of non-prescription opioids, like heroin, the massive distribution of opioids to

Plaintiffs’ Community and areas from which such opioids are being diverted into Plaintiff’s


135
  See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
Med. 241 (2015).
136
   See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
137
   See See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480
(2016).
138
    See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs.,
Prescription     Painkiller      Overdoses      at      Epidemic        Levels  (Nov.     1,    2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.


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Community, has caused the Defendant-caused opioid epidemic to include heroin addiction,

abuse, and death.

       244.    Prescription opioid abuse, addiction, morbidity, and mortality are hazards to

public health and safety in the State and in Plaintiff’s Community.

       245.    Heroin abuse, addiction, morbidity, and mortality are hazards to public health and

safety in the State and in Plaintiff’s Community.

       246.    Defendants repeatedly and purposefully breached their duties under state and

federal law, and such breaches are direct and proximate causes of, and/or substantial factors

leading to, the widespread diversion of prescription opioids for nonmedical purposes into the

Plaintiff’s Community.

       247.    The unlawful diversion of prescription opioids is a direct and proximate cause of,

and/or substantial factor leading to, the opioid epidemic, prescription opioid abuse, addiction,

morbidity and mortality in the State and Plaintiff’s Community. This diversion and the epidemic

are direct causes of foreseeable harms incurred by the Plaintiff and Plaintiff’s Community.

       248.    Defendants’ intentional and/or unlawful conduct resulted in direct and

foreseeable, past and continuing, economic damages for which Plaintiff seeks relief, as alleged

herein. Plaintiff also seeks the means to abate the epidemic created by Defendants’ wrongful

and/or unlawful conduct.

       249.    Plaintiff seeks economic damages from the Defendants as reimbursement for the

costs association with past efforts to eliminate the hazards to public health and safety.

       250.    Plaintiff seeks economic damages from the Defendants to pay for the cost to

permanently eliminate the hazards to public health and safety and abate the temporary public

nuisance.




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        251.     To eliminate the hazard to public health and safety, and abate the public nuisance,

a “multifaceted, collaborative public health and law enforcement approach is urgently

needed.”139

        252.     A comprehensive response to this crisis must focus on preventing new cases of

opioid addiction, identifying early opioid-addicted individuals, and ensuring access to effective

opioid addiction treatment while safely meeting the needs of patients experiencing pain.140

        253.     These community-based problems require community-based solutions that have

been limited by “budgetary constraints at the state and Federal levels.”141

        254.     Having profited enormously through the aggressive sale, misleading promotion,

and irresponsible distribution of opiates, Defendants should be required to take responsibility for

the financial burdens their conduct has inflicted upon the Plaintiff and Plaintiff’s Community.

        F. STATUTES OF LIMITATIONS ARE TOLLED AND DEFENDANTS ARE
           ESTOPPED FROM ASSERTING STATUTES OF LIMITATIONS AS
           DEFENSES.

               1. Continuing Conduct.

        255.     Plaintiff contends it continues to suffer harm from the Defendants’ unlawful

actions.

        256.     The Defendants’ continued tortious and unlawful conduct causes a repeated or

continuous injury. The damages have not occurred all at once but have continued to occur and

have increased as time progresses. The tort is not completed nor have all the damages been

incurred until the wrongdoing ceases. Defendants’ wrongdoing and unlawful activity has not

ceased. The public nuisance remains unabated.
139
   See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64
Morbidity & Mortality Wkly. Rep. 1378 (2016), at 1145.
140
   See Johns Hopkins Bloomberg School of Public Health, The Prescription Opioid Epidemic: An Evidence-Based
Approach (G. Caleb Alexander et al. eds., 2015), http://www.jhsph.edu/research/centers-and-institutes/center-for-
drug-safety-and-effectiveness/research/prescription-opioids/JHSPH_OPIOID_EPIDEMIC_REPORT.pdf.
141
   See Office of Nat’l Drug Control Policy, Exec. Office of the President, Epidemic: Responding to America’s
Prescription Drug Abuse Crisis (2011), https://www.ncjrs.gov/pdffiles1/ondcp/rx_abuse_plan.pdf.


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                   2. Equitable Estoppel.

            257.     Defendants are equitably estopped from relying upon a statute of limitations

defense because they undertook efforts to purposefully conceal their unlawful conduct and

fraudulently assure the public, including the State, the Plaintiff, and Plaintiff’s Community, that

they were undertaking efforts to comply with their obligations under the State and federal

controlled substances laws, all with the goal of protecting their registered manufacturer or

distributor status in the State and to continue generating profits. Notwithstanding the allegations

set forth above, the Defendants affirmatively assured the public, including the State, the Plaintiff,

and Plaintiff’s Community, that they are working to curb the opioid epidemic.

            258.     For example, a Cardinal Health executive claimed that it uses “advanced

analytics” to monitor its supply chain, and assured the public it was being “as effective and

efficient as possible in constantly monitoring, identifying, and eliminating any outside criminal

activity.”142

            259.     Similarly, McKesson publicly stated that it has a “best-in-class controlled

substance monitoring program to help identify suspicious orders,” and claimed it is “deeply

passionate about curbing the opioid epidemic in our country.”143

            260.     Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Distributor Defendants, through their trade associations, HDMA and

NACDS, filed an amicus brief in Masters Pharmaceuticals, which made the following

statements:144




142
      Bernstein et al., supra.
143
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.
144
      Brief for HDMA and NACDS, 2016 WL 1321983, at *3-4, *25.


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   a. “HDMA and NACDS members not only have statutory and regulatory responsibilities to

       guard against diversion of controlled prescription drugs, but undertake such efforts as

       responsible members of society.”

   b. “DEA regulations that have been in place for more than 40 years require distributors to

       report suspicious orders of controlled substances to DEA based on information readily

       available to them (e.g., a pharmacy’s placement of unusually frequent or large orders).”

   c. “Distributors take seriously their duty to report suspicious orders, utilizing both computer

       algorithms and human review to detect suspicious orders based on the generalized

       information that is available to them in the ordering process.”

   d. “A particular order or series of orders can raise red flags because of its unusual size,

       frequency, or departure from typical patterns with a given pharmacy.”

   e. “Distributors also monitor for and report abnormal behavior by pharmacies placing

       orders, such as refusing to provide business contact information or insisting on paying in

       cash.”

Through the above statements made on their behalf by their trade associations, and other similar

statements assuring their continued compliance with their legal obligations, the Distributor

Defendants not only acknowledged that they understood their obligations under the law, but they

further affirmed that their conduct was in compliance with those obligations.

       261.     The Distributor Defendants have also concealed and prevented discovery of

information, including data from the ARCOS database, that will confirm their identities and the

extent of their wrongful and illegal activities.

       262.     The Manufacturer Defendants distorted the meaning or import of studies they

cited and offered them as evidence for propositions the studies did not support. The

Manufacturer Defendants invented “pseudoaddiction” and promoted it to an unsuspecting



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medical community. The Manufacturer Defendants provided the medical community with false

and misleading information about ineffectual strategies to avoid or control opioid addiction.

Manufacturer Defendants recommended to the medical community that dosages be increased,

without disclosing the risks. Manufacturer Defendants spent millions of dollars over a period of

years on a misinformation campaign aimed at highlighting opioids’ alleged benefits, disguising

the risks, and promoting sales. The medical community, consumers, the State, and Plaintiff’s

Community were duped by the Manufacturer Defendants’ campaign to misrepresent and conceal

the truth about the opioid drugs that they were aggressively pushing in the State and in Plaintiff’s

Community.

       263.    Defendants intended that their actions and omissions would be relied upon,

including by Plaintiff and Plaintiff’s Community. Plaintiff and Plaintiff’s Community did not

know, and did not have the means to know, the truth due to Defendants’ actions and omissions.

       264.    The Plaintiff and Plaintiff’s Community reasonably relied on Defendants’

affirmative statements regarding their purported compliance with their obligations under the law

and consent orders.

              3. Fraudulent Concealment.

       265.    The Plaintiff’s claims are further subject to equitable tolling, stemming from

Defendants’ knowing and fraudulent concealment of the facts alleged herein. As alleged herein,

Defendants knew of the wrongful acts set forth above, and had material information pertinent to

their discovery, and concealed them from the Plaintiff and Plaintiff’s community. The Plaintiff

did not know, or could not have known through the exercise of reasonable diligence, of its cause

of action, as a result of Defendants’ conduct.

       266.    The purposes of the statutes of limitations period are satisfied because Defendants

cannot claim prejudice due to a late filing where the Plaintiff filed suit promptly upon



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discovering the facts essential to its claims, described herein, which Defendants knowingly

concealed.

       267.     In light of their statements to the media, in legal filings, and settlements, it is clear

that Defendants had actual or constructive knowledge that their conduct was deceptive, in that

they consciously concealed the schemes set forth herein

       268.     Defendants continually and secretly engaged in their scheme to avoid compliance

with their legal obligations. Only Defendants and their agents knew or could have known about

Defendants’ unlawful actions because Defendants made deliberate efforts to conceal their

conduct. As a result of the above, the Plaintiff was unable to obtain vital information bearing on

its claims absent any fault or lack of diligence on its part.

                               V. LEGAL CAUSES OF ACTION

                                            COUNT I
                                       PUBLIC NUISANCE
                                      (Against all Defendants)

       269.     Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth here, and further alleges as follows.

       270.     Each Defendant is liable for public nuisance because its conduct at issue has

caused an unreasonable and substantial interference with a right common to the general public,

which is the proximate cause of, and/or substantial factor leading to, Plaintiff’s injury. See

Restatement Second, Torts § 821B.

       271.     By causing dangerously addictive drugs to flood the community, and to be

diverted for illicit purposes, in contravention of federal and State law, each Defendant has

injuriously affected rights common to the general public, specifically including the rights of the

people of the Plaintiff’s Community to public health, public safety, public peace, public comfort,

and public convenience. The public nuisance caused by Defendants’ diversion of dangerous

drugs has caused substantial annoyance, inconvenience, and injury to the public.

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       272.    By selling dangerously addictive opioid drugs diverted from a legitimate medical,

scientific, or industrial purpose, Defendants have committed a course of conduct that injuriously

affects the safety, health, and morals of the people of the Plaintiff’s Community.

       273.    By failing to maintain a closed system that guards against diversion of

dangerously addictive drugs for illicit purposes, Defendants injuriously affected public rights,

including the right to public health, public safety, public peace, and public comfort of the people

of the Plaintiff’s Community.

       274.    Plaintiff alleges that Defendants’ wrongful and illegal actions have created a

public nuisance. Each Defendant is liable for public nuisance because its conduct at issue has

caused an unreasonable interference with a right common to the general public.

       275.    The Defendants have intentionally and/or unlawfully created a nuisance.

       276.    The residents of Plaintiff’s Community have a common right to be free from

conduct that creates an unreasonable jeopardy to the public health, welfare and safety, and to be

free from conduct that creates a disturbance and reasonable apprehension of danger to person and

property.

       277.    Defendants intentionally, unlawfully, and recklessly manufacture, market,

distribute, and sell prescription opioids that Defendants know, or reasonably should know, will

be diverted, causing widespread distribution of prescription opioids in and/or to Plaintiff’s

Community, resulting in addiction and abuse, an elevated level of crime, death and injuries to the

residents of Plaintiff’s Community, a higher level of fear, discomfort and inconvenience to the

residents of Plaintiff’s Community, and direct costs to Plaintiff’s Community.

       278.    Defendants have unlawfully and/or intentionally caused and permitted dangerous

drugs under their control to be diverted such as to injure the Plaintiff’s Community and its

residents.



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       279.    Defendants have unlawfully and/or intentionally distributed opioids or caused

opioids to be distributed without maintaining effective controls against diversion. Such conduct

was illegal.   Defendants’ failures to maintain effective controls against diversion include

Defendants’ failure to effectively monitor for suspicious orders, report suspicious orders, and/or

stop shipment of suspicious orders.

       280.    Defendants have caused a significant and unreasonable interference with the

public health, safety, welfare, peace, comfort and convenience, and ability to be free from

disturbance and reasonable apprehension of danger to person or property.

       281.    Defendants’ conduct in illegally distributing and selling prescription opioids, or

causing such opioids to be distributed and sold, where Defendants know, or reasonably should

know, such opioids will be diverted and possessed and/or used illegally in Plaintiff’s Community

is of a continuing nature.

       282.    Defendants’ actions have been of a continuing nature and have produced a

significant effect upon the public’s rights, including the public’s right to health and safety.

       283.    A violation of any rule or law controlling the distribution of a drug of abuse in

Plaintiff’s Community and the State is a public nuisance.

       284.    Defendants’ distribution of opioids while failing to maintain effective controls

against diversion was proscribed by statute and regulation.

       285.    Defendants’ ongoing conduct produces an ongoing nuisance, as the prescription

opioids that they allow and/or cause to be illegally distributed and possessed in Plaintiff’s

Community will be diverted, leading to abuse, addiction, crime, and public health costs.

       286.    Because of the continued use and addiction caused by these illegally distributed

opioids, the public will continue to fear for its health, safety and welfare, and will be subjected to

conduct that creates a disturbance and reasonable apprehension of danger to person and property.



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       287.    Defendants know, or reasonably should know, that their conduct will have an

ongoing detrimental effect upon the public health, safety and welfare, and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

       288.    Defendants know, or reasonably should know, that their conduct causes an

unreasonable invasion of the public right to health, safety and welfare and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

       289.    Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in Plaintiff’s Community. Defendants are

in the business of manufacturing, marketing, selling, and distributing prescription drugs,

including opioids, which are specifically known to Defendants to be dangerous under federal

law. See, e.g., 21 U.S.C. § 812 (b)(2).

       290.    Defendants’ conduct in marketing, distributing, and selling prescription opioids

which the Defendants know, or reasonably should know, likely will be diverted for non-

legitimate, non-medical use, creates a strong likelihood that these illegal distributions of opioids

will cause death and injuries to residents in Plaintiff’s Community and otherwise significantly

and unreasonably interfere with public health, safety and welfare, and with the public’s right to

be free from disturbance and reasonable apprehension of danger to person and property.

       291.    It is, or should be, reasonably foreseeable to Defendants that their conduct will

cause deaths and injuries to residents in Plaintiff’s Community, and will otherwise significantly

and unreasonably interfere with public health, safety and welfare, and with the public’s right to

be free from disturbance and reasonable apprehension of danger to person and property.

       292.    The prevalence and availability of diverted prescription opioids in the hands of

irresponsible persons and persons with criminal purposes in Plaintiff’s Community not only

causes deaths and injuries, but also creates a palpable climate of fear among residents in



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Plaintiff’s Community where opioid diversion, abuse, addiction are prevalent and where diverted

opioids tend to be used frequently.

       293.    Defendants’ conduct makes it easier for persons to divert prescription opioids,

constituting a dangerous threat to the public.

       294.    Defendants’ actions were, at the least, a substantial factor in opioids becoming

widely available and widely used for non-medical purposes. Because of Defendants’ special

positions within the closed system of opioid distribution, without Defendants’ actions, opioid use

would not have become so widespread, and the enormous public health hazard of prescription

opioid and heroin overuse, abuse, and addiction that now exists would have been averted.

       295.    The presence of diverted prescription opioids in Plaintiff’s Community, and the

consequence of prescription opioids having been diverted in Plaintiff’s Community, proximately

result in and/or substantially contribute to the creation of significant costs to the Plaintiff and to

Plaintiff’s Community in order to enforce the law, equip its police force and treat the victims of

opioid abuse and addiction.

       296.    Stemming the flow of illegally distributed prescription opioids, and abating the

nuisance caused by the illegal flow of opioids, will help to alleviate this problem, save lives,

prevent injuries and make Plaintiff’s Community a safer place to live.

       297.    Defendants’ conduct is a direct and proximate cause of and/or a substantial

contributing factor to opioid addiction and abuse in Plaintiff’s Community, costs borne by

Plaintiff’s Community and the Plaintiff, and a significant and unreasonable interference with

public health, safety and welfare, and with the public’s right to be free from disturbance and

reasonable apprehension of danger to person and property.

       298.    Defendants’ conduct constitutes a public nuisance and, if unabated, will continue

to threaten the health, safety and welfare of the residents of Plaintiff’s Community, creating an



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atmosphere of fear and addiction that tears at the residents’ sense of well-being and security.

Plaintiff has a clearly ascertainable right to abate conduct that perpetuates this nuisance.

       299.    Defendants created an intentional nuisance. Defendants’ actions created and

expanded the abuse of opioids, which are dangerously addictive, and the ensuing associated

plague of prescription opioid and heroin addiction. Defendants knew the dangers to public

health and safety that diversion of opioids would create in Plaintiff’s Community, however,

Defendants intentionally and/or unlawfully failed to maintain effective controls against diversion

through proper monitoring, reporting and refusal to fill suspicious orders of opioids. Defendants

intentionally and/or unlawfully distributed opioids or caused opioids to be distributed without

reporting or refusing to fill suspicious orders or taking other measures to maintain effective

controls against diversion. Defendants intentionally and/or unlawfully continued to ship and

failed to halt suspicious orders of opioids, or caused such orders to be shipped. Defendants

intentionally and/or unlawfully marketed opioids in manners they knew to be false and

misleading. Such actions were inherently dangerous.

       300.    Defendants knew the prescription opioids have a high likelihood of being

diverted. It was foreseeable to Defendants that where Defendants distributed prescription opioids

or caused such opioids to be distributed without maintaining effective controls against diversion,

including monitoring, reporting, and refusing shipment of suspicious orders, that the opioids

would be diverted, and create an opioid abuse nuisance in Plaintiff’s Community.

       301.    Defendants’ actions also created a nuisance by acting recklessly, negligently

and/or carelessly, in breach of their duties to maintain effective controls against diversion,

thereby creating an unreasonable risk of harm.




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       302.    Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm.

       303.    The damages available to the Plaintiff include, inter alia, recoupment of

governmental costs, flowing from an ongoing and persistent public nuisance which the Plaintiff

seeks to abate.   Defendants’ conduct is ongoing and persistent, and the Plaintiff seeks all

damages flowing from Defendants’ conduct. Plaintiff further seeks to abate the nuisance and

harm created by Defendants’ conduct.

       304.    As a direct result of Defendants’ conduct, the Plaintiff and Plaintiff’s Community

have suffered actual injury and damages including, but not limited to, significant expenses for

police, emergency, health, prosecution, corrections and other services. The Plaintiff here seeks

recovery for its own harm.

       305.    The Plaintiff and Plaintiff’s Community have sustained specific and special

injuries because their damages include, inter alia, health services, law enforcement expenditures,

and costs related to opioid addiction treatment and overdose prevention.

       306.    The Plaintiff further seeks to abate the nuisance created by the Defendants’

unreasonable, unlawful, intentional, ongoing, continuing, and persistent actions and omissions

and interference with a right common to the public.

       307.    Defendants’ intentional and unlawful actions and omissions and unreasonable

interference with a right common to the public are of a continuing nature.

       308.    Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in the Plaintiff’s community. Defendants

are in the business of manufacturing or distributing prescription drugs, including opioids, which

are specifically known to Defendants to be dangerous because inter alia these drugs are defined



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under federal and state law as substances posing a high potential for abuse and severe addiction.

Defendants created an intentional nuisance. Defendants’ actions created and expanded the abuse

of opioids, drugs specifically codified as constituting severely harmful substances.

       309.    The public nuisance created by Defendants’ actions is substantial and

unreasonable – it has caused and continues to cause significant harm to the community, and the

harm inflicted outweighs any offsetting benefit. The staggering rates of opioid and heroin use

resulting from the Defendants’ abdication of their gate-keeping and diversion prevention duties,

and the Manufacturer Defendants’ fraudulent marketing activities, have caused harm to the entire

community that includes, but is not limited to the following:

       a. The high rates of use leading to unnecessary opioid abuse, addiction, overdose,
          injuries, and deaths.

       b. Even children have fallen victim to the opioid epidemic. Easy access to prescription
          opioids made opioids a recreational drug of choice among teenagers. Even infants
          have been born addicted to opioids due to prenatal exposure, causing severe
          withdrawal symptoms and lasting developmental impacts.

       c. Even those residents of Plaintiff’s Community who have never taken opioids have
          suffered from the public nuisance arising from Defendants’ abdication of their gate-
          keeper duties and fraudulent promotions. Many residents have endured both the
          emotional and financial costs of caring for loved ones addicted to or injured by
          opioids, and the loss of companionship, wages, or other support from family members
          who have used, abused, become addicted to, overdosed on, or been killed by opioids.

       d. The opioid epidemic has increased health care costs.

       e. Employers have lost the value of productive and healthy employees.

       f. Defendants’ conduct created an abundance of drugs available for criminal use and
          fueled a new wave of addiction, abuse, and injury.

       g. Defendants’ dereliction of duties and/or fraudulent misinformation campaign pushing
          dangerous drugs resulted in a diverted supply of narcotics to sell, and the ensuing
          demand of addicts to buy them. More prescription opioids sold by Defendants led to
          more addiction, with many addicts turning from prescription opioids to heroin. People
          addicted to opioids frequently require increasing levels of opioids, and many turned
          to heroin as a foreseeable result.



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       h. The diversion of opioids into the secondary, criminal market and the increased
          number of individuals who abuse or are addicted to opioids increased the demands on
          health care services and law enforcement.

       i. The significant and unreasonable interference with the public rights caused by
          Defendants’ conduct taxed the human, medical, public health, law enforcement, and
          financial resources of the Plaintiff’s Community.

       j. Defendants’ interference with the comfortable enjoyment of life in the Plaintiff’s
          Community is unreasonable because there is little social utility to opioid diversion
          and abuse, and any potential value is outweighed by the gravity of the harm inflicted
          by Defendants’ actions.

       310.    The Plaintiff and Plaintiff’s Community have sustained specific and special

injuries because its damages include inter alia health services and law enforcement expenditures,

as described in this Complaint.

       311.    Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ fraudulent activity and fraudulent misrepresentations.

Plaintiff does not seek damages for physical personal injury or any physical damage to property

caused by Defendants’ actions.

       312.    Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorneys’ fees and costs, and pre- and post-judgment interest.

                                   COUNT II
                NEGLIGENCE AND NEGLIGENT MISREPRESENTATION
                             (Against All Defendants)

       313.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth here, and further alleges as follows.

       314.    Plaintiff seeks economic damages which were the foreseeable result of

Defendants’ intentional and/or unlawful actions and omissions.




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       315.    Under State law, to establish actionable negligence, one must show in addition to

the existence of a duty, a breach of that duty, and injury resulting proximately therefrom and/or

was substantially caused thereby. All such essential elements exist here.

       316.    Further, as Section 302B of the Restatement of Torts provides: “An act or an

omission may be negligent if the actor realizes or should realize that it involves an unreasonable

risk of harm to another through the conduct of the other or a third person which is intended to

cause harm, even though such conduct is criminal.”

       317.    Each Defendant had an obligation to exercise reasonable care in manufacturing,

marketing, selling, and distributing highly dangerous opioid drugs to the State and Plaintiff’s

Community.

       318.    Each Defendant had an obligation to exercise due care in manufacturing,

marketing, selling, and distributing highly dangerous opioid drugs in the State and Plaintiff’s

Community.

       319.    Each Defendant owed a duty to the Plaintiff, and to the public in the Plaintiff’s

Community, because the injury was foreseeable, and in fact foreseen, by the Defendants.

       320.    Reasonably prudent manufacturers and distributors of prescription opioids would

have anticipated that the scourge of opioid addiction would wreak havoc on communities, and

the significant costs which would be imposed upon the governmental entities associated with

those communities. The closed system of opioid distribution whereby wholesale distributors are

the gatekeepers between manufacturers and pharmacies, and wherein all links in the chain have a

duty to prevent diversion, exists for the purpose of controlling dangerous substances such as

opioids and preventing diversion and abuse.

       321.    Reasonably prudent manufacturers of pharmaceutical products would know that

aggressively pushing highly addictive opioids for chronic pain would result in the severe harm of



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addiction, foreseeably causing patients to seek increasing levels of opioids, frequently turning to

the illegal drug market as a result of a drug addiction that was foreseeable to the Manufacturer

Defendants.

       322.     Moreover, Defendants were repeatedly warned by law enforcement of the

unlawfulness and consequences of their actions and omissions.

       323.     The escalating amounts of addictive drugs flowing through Defendants’

businesses, and the sheer volume of these prescription opioids, further alerted Defendants that

addiction was fueling increased consumption and that legitimate medical purposes were not

being served.

       324.     As described above in allegations expressly incorporated herein, Distributor

Defendants breached their duties to exercise due care in the business of wholesale distribution of

dangerous opioids, which are Schedule II Controlled Substances, by failing to monitor for,

failing to report, and filling highly suspicious orders time and again. Because the very purpose of

these duties was to prevent the resulting harm – diversion of highly addictive drugs for non-

medical purposes – the causal connection between Defendants’ breaches of duties and the

ensuing harm was entirely foreseeable.

       325.     As described elsewhere in the Complaint in allegations expressly incorporated

herein, Distributor Defendants misrepresented their compliance with their duties under the law,

concealed their noncompliance,       and shipped suspicious orders of opioids to Plaintiff’s

Community and destinations from which they knew opioids were likely to be diverted into

Plaintiff’s Community, in addition to other misrepresentations alleged and incorporated herein.

       326.     As described elsewhere in the Complaint in allegations expressly incorporated

herein, Manufacturer Defendants breached their duties to exercise due care in the course of

carrying out their business of being pharmaceutical manufacturers of dangerous opioids, which



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are Schedule II Controlled Substances, and by misrepresenting the nature of the drugs and

aggressively promoting them for chronic pain for which they knew the drugs were not safe or

suitable, upon which the Plaintiff’s Community, its residents, and Plaintiff reasonably relied.

       327.    The Manufacturer Defendants misrepresented and concealed the addictive nature

of prescription opioids and their lack of suitability for chronic pain, in addition to other

misrepresentations alleged and incorporated herein.

       328.    All Defendants breached their duties to prevent diversion and report and halt

suspicious orders, and all Defendants misrepresented their compliance with their legal duties.

       329.    Defendants’ breaches were intentional and/or unlawful, and Defendants’ conduct

was willful, wanton, malicious, reckless, oppressive, and/or fraudulent.

       330.    The    causal   connection    between    Defendants’    breaches   of   duties     and

misrepresentations and the ensuing harm was entirely foreseeable.

       331.    As described above in allegations expressly incorporated herein, Defendants’

breaches of duty and misrepresentations caused, bears a causal connection with, and/or

proximately resulted in the damages sought herein.

       332.    Defendants were selling dangerous drugs statutorily categorized as posing a high

potential for abuse and severe dependence. Defendants knowingly traded in drugs that presented

a high degree of danger if prescribed incorrectly or diverted to other than medical, scientific, or

industrial channels. However, Defendants breached their duties to monitor for, report, and halt

suspicious orders, breached their duties to prevent diversion, and, further, misrepresented what

their duties were and their compliance with their legal duties.

       333.    The Defendants failed to disclose the material facts that inter alia they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,

protect against addiction and severe harm, and specifically monitor, investigate, report, and



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refuse suspicious orders. But for these material factual omissions, Defendants would not have

been able to sell opioids.

       334.    As alleged herein, each Manufacturer Defendant wrongfully represented that the

opioid prescription medications they manufactured, marketed, and sold had characteristics, uses,

or benefits that they do not have. The Manufacturer Defendants also wrongfully misrepresented

that the opioids were safe and effective when such representations were untrue, false, and

misleading.

       335.    Because of the dangerously addictive nature of these drugs, which the

Manufacturer Defendants concealed and misrepresented, they lacked medical value, and in fact

caused addiction and overdose deaths.

       336.    The Manufacturer Defendants made deceptive representations about the use of

opioids to treat chronic non-cancer pain. Each Manufacturer Defendant also omitted or

concealed material facts and failed to correct prior misrepresentations and omissions about the

risks and benefits of opioids. Each Defendant’s omissions rendered even their seemingly truthful

statements about opioids deceptive, and the Plaintiff’s Community, its residents, and Plaintiff

reasonably relied upon said misrepresentations.

       337.    Defendants’ unlawful and/or intentional actions create a rebuttable presumption

of negligence under State law.

       338.    Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ actions and omissions. Plaintiff does not seek damages for

physical personal injury or any physical damage to property caused by Defendants’ actions.

       339.    Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of




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profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorneys’ fees and costs, and pre- and post-judgment interest.

                                           COUNT III
                                     NEGLIGENCE PER SE
                                     (Against All Defendants)

       340.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth here, and further alleges as follows.

       341.    “Mississippi law recognizes the doctrine of negligence per se, which provides that

breach of a statute or ordinance may render the offender liable in tort without proof of lack of

due care.” See Simpson v. Boyd, 880 So.2d 1047, 1052 (Miss. 2004).

       342.    Violations of statutes and regulations support a cause of action for negligence per

se where the plaintiff is within the class protected, the harm sustained is the type sought to be

prevented, and that the violations proximately caused the plaintiff’s injuries. See Palmer v.

Anderson Infirmary Benevolent Ass'n., 656 So.2d 790 (Miss.1995).

       343.    Mississippi’s minimum requirements for controlled substance manufacture and

wholesale drug distribution comply with “all applicable local, state and federal laws and

regulations” and “all applicable state and federal DEA regulations.” MISS. ADMIN. CODE 30-20-

3001:XXXII(10)(J).

       344.    Each Defendant was required under Mississippi law be licensed by the

Mississippi State Board of Pharmacy (MISS. ADMIN. CODE 30-20-3001:XXXII). To receive and

maintain these licenses, each of the Defendants assumed a duty to comply with – and were

required to furnish proof of compliance with - “all applicable local, state and federal laws and

regulations” and “all applicable state and federal DEA regulations.” MISS. ADMIN. CODE 30-20-

3001:XXXII(10)(J).




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       345.    The   Mississippi    Board    of     Pharmacy   prohibits   fraud   or   intentional

misrepresentation in securing the issuance or renewal of a permit. MISS. ADMIN. CODE 30-20-

3001:IX.

       346.    The federal laws and requirements which Mississippi incorporates into its own

laws require Defendants to act as gatekeepers guarding against the diversion of the highly

addictive, dangerous opioid drugs. See, e.g., MISS. ADMIN. CODE 30-20-3001:XXXII(10)(J).

       347.    The federal mandates incorporated into Mississippi law require that Defendants

must maintain “effective control against diversion of particular controlled substances into other

than legitimate medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(a)(1), (b)(1).

These federal regulations impose a non-delegable duty upon both manufacturers and distributors

to “design and operate a system to disclose to the registrant suspicious orders of controlled

substances. The registrant [distributor or manufacturer] shall inform the Field Division Office of

the Administration in his area of suspicious orders when discovered by the registrant. Suspicious

orders include orders of unusual size, orders deviating substantially from a normal pattern, and

orders of unusual frequency.” 21 C.F.R. § 1301.74(b).

       348.    In addition to reporting all suspicious orders, distributors must also stop shipment

on any order which is flagged as suspicious and only ship orders which were flagged as

potentially suspicious if, after conducting due diligence, the distributor can determine that the

order is not likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg.

36,487, 36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharm., Inc. v. Drug Enf’t Admin.,

861 F.3d 206 (D.C. Cir. 2017). Regardless, all flagged orders must be reported. Id.

       349.    Each Defendant was further required to register with the DEA, pursuant to the

federal Controlled Substance Act, as incorporated into Mississippi law. See 21 U.S.C. § 823(b),

(e); 28 C.F.R. § 0.100. Each Defendant is a “registrant” as a wholesale distributor and/or



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manufacturer in the chain of distribution of Schedule II controlled substances with a duty to

comply with all security requirements imposed under that statutory scheme.

         350.    Defendants violated § 41-29-141 of the Mississippi Uniform Controlled

Substances Law, which provides that, “It is unlawful for any person: (2) Who is a registrant

under Section 41-29-125 to manufacture a controlled substance not authorized by his

registration, or to distribute or dispense a controlled substance not authorized by his registration

to another registrant or other authorized person[.]” MISS. CODE. ANN. § 41-29-141.

         351.    Defendants violated § 41-29-139 of the Mississippi Uniform Controlled

Substances Law, which provides that, except as authorized by law, “[I]t is unlawful for any

person knowingly or intentionally: (1) To sell, barter, transfer, manufacture, distribute, dispense

or possess with intent to sell, barter, transfer, manufacture, distribute or dispense, a controlled

substance[.]” MISS. CODE. ANN. § 41-29-139.

         352.    Defendants violated Miss. Code Ann. § 97-1-1, which provides that a person

commits criminal drug conspiracy when, with the intent that a crime be committed, it agrees with

another to the commission of that offense.

         353.    Defendants also violated § 41-29-140 of the Mississippi Uniform Controlled

Substances Law, which makes it unlawful for any person145 to “[k]nowingly or intentionally

receive or expend funds which he knows to be derived from the commission of a felony offense

under the provisions of Section 41-29-139; or (2) [f]inance or invest funds which he knows to be

intended to further the commission of a felony under the provisions of Section 41-29-139.” MISS.

CODE. ANN. § 41-29-140.

         354.    Defendants do not qualify for the “authorized by law” exceptions to the

Mississippi Uniform Controlled Substances Law violations because Defendants did not comply

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   The Mississippi Uniform Controlled Substances Law defines “person” to mean an “individual, corporation,
government or governmental subdivision or agency, business trust, estate, trust, partnership or association, or any
other legal entity.” MISS. CODE ANN. § 41-29-105.


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with the mandatory terms of the licenses issued to them by the Mississippi Board of Pharmacy or

with federal requirements incorporated by reference, as further detailed in this Complaint.

       355.      Defendants violated MISSISSIPPI ADMINISTRATIVE CODE 30-20-3001:IX by

knowingly making or causing to be made any false or fraudulent statement or misrepresentation

in securing issuance or renewal of a permit and by engaging in fraud in connection with the

wholesale distribution or manufacturing of drugs, as alleged herein.

       356.      Plaintiff is within the class intended to be protected by the public safety statutes

and regulations concerning controlled substances.

       357.      Defendants’ violations of these public safety laws are prima facie evidence of

negligence per se. Each Defendant had a duty under, inter alia, these laws to maintain effective

controls against diversion of prescription opioids and to guard against, prevent, and report

suspicious orders of opioids. Defendants’ violations of the law constitute negligence per se.

Defendants breached mandatory, non-delegable legal duties and did not act reasonably under the

circumstances.

       358.      As described above in allegations expressly incorporated herein, Defendants

breached their duties to maintain effective controls against diversion of dangerously addictive

opioids, including violating public safety statutes and regulations requiring that as wholesale

drug distributors, Defendants could only distribute these dangerous drugs under a closed system

– a system Defendants were responsible for guarding.

       359.      As described above in allegations expressly incorporated herein, Defendants’

breach of statutory and regulatory duties caused, bears a causal connection with, is and was a

substantial factor contributing to, and/or proximately resulted in, harm and damages to Plaintiff.

       360.      The injuries and damages sustained are those which the Mississippi statutes and

regulations were designed to prevent.



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       361.    Defendants’ violations of the Mississippi statutes and public safety regulations

cited herein were and are substantial factors in the injuries and damages sustained.

       362.    It was foreseeable that Defendants’ breaches of statutory and regulatory duties

described herein would result in the damages sustained.

       363.    Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ negligence per se. Plaintiff does not seek damages for

physical, personal injury or any physical damage to property caused by Defendants’ actions.

       364.    Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorneys’ fees and costs, and pre- and post-judgment interest.

                                          COUNT IV
                                    NEGLIGENCE PER SE
                               (Against Manufacturer Defendants)

       365.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth here, and further alleges as follows.

       366.    MISS. CODE ANN. § 97-23-3 provides:

       Any person who, with intent to sell or in any way dispose of merchandise, […], or
       anything offered by such person, directly or indirectly, to the public for sale or
       distribution, or who, with intent to increase the consumption of or demand for
       such merchandise, […] or other thing, or to induce the public in any manner to
       enter into any obligation relating thereto, or to acquire title thereto, or an interest
       therein, makes, publishes, disseminates, circulates or places before the public, or
       causes, directly or indirectly, to be made, published, disseminated, circulated or
       placed before the public within the state, in a newspaper or other publication, or in
       the form of a book, notice, handbill, poster, bill, circular, pamphlet or letter, or by
       a label affixed to the merchandise or its container, or in any other way, an
       advertisement of any sort regarding merchandise, […] or anything so offered to
       the public, which advertisement contains any assertion, representation or
       statement of fact which is untrue, deceptive or misleading, […], and which such
       person knew, or might on reasonable investigation have ascertained to be untrue,
       deceptive or misleading[. . . shall be guilty of a crime .]



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Further, violators of MISS. CODE ANN. § 97-23-3 “may be held civilly responsible in tort for

damages to persons or property proximately resulting from a violation of this section.”

       367.    As alleged herein, the Manufacturer Defendants engaged in false and misleading

representations and concealments of material fact regarding the use of opioids to treat chronic

non-cancer pain, by misrepresenting the nature of the drugs, and by aggressively promoting them

for chronic pain for which they knew the drugs were not safe or suitable. These false or

misleading statements were made to the public, including to Plaintiff’s Community.

       368.    The Plaintiff is within the class intended to be protected by the public safety

statutes and regulations concerning advertising and controlled substances.

       369.    Defendants’ violations of these public safety laws are prima facie evidence of

negligence per se.

       370.    Defendants acted knowingly, intentionally, and/or unlawfully.

       371.    Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ negligence per se. Plaintiff does not seek damages for

physical, personal injury or any physical damage to property caused by Defendants’ actions.

       372.    Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the

Distributor Defendants, attorneys’ fees and costs, and pre- and post-judgment interest.

                                            COUNT V
                                      CIVIL CONSPIRACY
                                     (Against All Defendants)

       373.     Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth here, and further alleges as follows.




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        374.   As set forth herein, Defendants engaged in a civil conspiracy to create a public

nuisance in conjunction with their unlawful marketing, sale, distribution and/or diversion of

opioids into the State and Plaintiff’s Community.

        375.   As set forth herein, Defendants engaged in a civil conspiracy to commit fraud and

misrepresentation in conjunction with their unlawful distribution and diversion of opioids into

the State and Plaintiff’s Community.

        376.   Distributor and Manufacturer Defendants unlawfully failed to act to prevent

diversion and failed to monitor for, report, and prevent suspicious orders of opioids.

        377.   The Manufacturer Defendants further unlawfully marketed opioids in the State

and Plaintiffs’ Community in furtherance of that conspiracy.

        378.   Defendants acted tortiously in agreement and/or in concert with each other and/or

in pursuit of a common design, and/or Defendants knew each other’s conduct constituted a

breach of their legal duties and provided substantial assistance and/or encouragement in the

conduct.

        379.   Defendants conspiracy is a continuing conspiracy, and the overt acts performed in

compliance with the conspiracy’s objective(s) are ongoing and/or have occurred within the last

year.

        380.   Defendants acted with agreement and a common understanding or design to

commit unlawful acts and/or lawful acts unlawfully, as alleged herein, and acted purposely,

without a reasonable or lawful excuse, to create the injuries alleged herein.

        381.   Defendants acted with malice, purposely, intentionally, unlawfully, and without a

reasonably or lawful excuse.




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       382.       Defendants’ conspiracy, and Defendants’ actions and omissions in furtherance

thereof, proximately caused and/or substantially contributed to the direct and foreseeable losses

alleged herein.

       383.       Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ civil conspiracy. Plaintiff does not seek damages for physical,

personal injury or any physical damage to property caused by Defendants’ actions.

       384.       Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorney fees and costs, and pre- and post-judgment interest.

                                        COUNT VI
                       FRAUD AND FRAUDULENT MISREPRESENTATION
                                  (Against All Defendants)

       385.       Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth here, and further alleges as follows.

       386.       Defendants violated their general duty not to actively deceive, and have made

knowingly false statements and have omitted and/or concealed information which made

statements by Defendants knowingly false. Defendants acted intentionally and/or unlawfully.

       387.       As alleged herein, Defendants made false statements regarding their compliance

with state and federal law regarding their duties to prevent diversion, their duties to monitor,

report and halt suspicious orders, and/or concealed their noncompliance with these requirements.

       388.       As alleged herein, the Manufacturer Defendants engaged in false representations

and concealments of material fact regarding the use of opioids to treat chronic non-cancer pain.

       389.       As    alleged   herein,   Defendants    knowingly     and/or   intentionally   made

representations that were false. Defendants had a duty to disclose material facts and concealed



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them. These false representations and concealed facts were material to the conduct and actions at

issue. Defendants made these false representations and concealed facts with knowledge of the

falsity of their representations, and did so with the intent of misleading Plaintiff, Plaintiff’s

community, the public, and persons on whom Plaintiff relied.

       390.    These false representations and concealments were reasonably calculated to

deceive Plaintiff, Plaintiff’s Community, and the physicians who prescribed opioids for persons

in Plaintiff’s Community, were made with the intent to deceive, and did in fact deceive these

persons, Plaintiff, and Plaintiff’s Community.

       391.    Plaintiff, Plaintiff’s Community, and the physicians who prescribed opioids

reasonably relied on these false representations and concealments of material fact.

       392.    Plaintiff justifiably relied on Defendants’ representations and/or concealments,

both directly and indirectly. Plaintiff’s injuries were proximately caused by this reliance.

       393.    The injuries alleged by Plaintiff herein were sustained as a direct and proximate

cause of Defendants’ fraudulent conduct.

       394.    Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ fraudulent activity, including fraudulent misrepresentations

and fraudulent concealment. Plaintiff does not seek damages for physical personal injury or any

physical damage to property caused by Defendants’ actions.

       395.    Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorneys’ fees and costs, and pre- and post-judgment interest.




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                                      PUNITIVE DAMAGES

       396.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth here, and further alleges as follows.

       397.    By engaging in the above-described intentional and/or unlawful acts or practices,

Defendants acted with actual malice, wantonly, and oppressively. Defendants acted with

conscious disregard to the rights of others and/or in a reckless, wanton, willful, or gross manner.

Defendants acted with a prolonged indifference to the adverse consequences of their actions

and/or omissions. Defendants acted with a conscious disregard for the rights and safety of others

in a manner that had a great probability of causing substantial harm. Defendants acted toward the

Plaintiff with fraud, oppression, and/or malice.

       398.    Defendants were selling and/or manufacturing dangerous drugs statutorily

categorized as posing a high potential for abuse and severe dependence. Thus, Defendants

knowingly traded in drugs that presented a high degree of danger if prescribed incorrectly or

diverted to other than legitimate medical, scientific, or industrial channels. Because of the severe

level of danger posed by, and indeed visited upon the State and Plaintiff’s Community by, these

dangerous drugs, Defendants owed a high duty of care to ensure that these drugs were only used

for proper medical purposes. Defendants chose profit over prudence, and the safety of the

community, and an award of punitive damages is appropriate, as punishment and a deterrence.

       399.    By engaging in the above-described wrongful conduct, Defendants also engaged

in willful misconduct and exhibited an entire want of care that would raise the presumption of a

conscious indifference to consequences.

                                              RELIEF

       WHEREFORE, the Plaintiff respectfully prays that this Court grant the following relief:

       400.    Enter Judgment in favor of the Plaintiff in a final order against each of the

Defendants;

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       401.    Enjoin the Defendants and their employees, officers, directors, agents, successors,

assignees, merged or acquired predecessors, parent or controlling entities, subsidiaries, and all

other persons acting in concert or participation with them, from engaging in unfair or deceptive

practices in violation of law and ordering temporary, preliminary or permanent injunction;

       402.    Order that Defendants compensate the Plaintiff for past and future costs to abate

the ongoing public nuisance caused by the opioid epidemic;

       403.    Order Defendants to fund an “abatement fund” for the purposes of abating the

opioid nuisance;

       404.    Award actual damages, treble damages, injunctive and equitable relief, forfeiture

as deemed proper by the Court, and attorneys’ fees and all costs and expenses of suit;

       405.    Award the Plaintiff the damages caused by the opioid epidemic, including: (A)

costs for providing medical care, additional therapeutic and prescription drug purchases, and

other treatments for patients suffering from opioid-related addiction or disease, including

overdoses and deaths; (B) costs for providing treatment, counseling, and rehabilitation services;

(C) costs for providing treatment of infants born with opioid-related medical conditions; (D)

costs for providing care for children whose parents suffer from opioid-related disability or

incapacitation; and (E) costs associated with law enforcement and public safety relating to the

opioid epidemic.

       406.    Award judgment against the Defendants requiring Defendants to pay punitive

damages;

       407.    Grant the Plaintiff: (A) the cost of investigation, reasonable attorneys’ fees, and

all costs and expenses; (B) Pre-judgment and post-judgment interest; and (C) All other relief as

provided by law and/or as the Court deems appropriate and just.




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Dated: March 23, 2018                 Respectfully Submitted,

                                      ITAWAMBA COUNTY, MISSISSIPPI,
                                      Plaintiff

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